            Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 1 of 64




                    IN THE UNITED STATES DISTRiCT COURT,
             FOR THE WESTERN DISTRICT OF TEXAS, AUSTIN                         D426          P1   I:   JO

michael haendel,                                 §
                Plaintiff                        §
                                                 §
                                                                                   -w\
v.                                               §       Case No. 1:13-cv-00007-SS
                                                 §
M.DTGIANTONIO,                                   §
THOMAS EATON,                                    §
          Defendants.                            §



               PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013



       I.       PROCEDURAL COMPLIANCE

       August 14, 2013, Travis County Attorney, claimed but not proven Defendants

representatives entered into United States District Court for the Western District of Texas, Austin

Division Case Number 1:13-cv-00007, document "Case 1:13-cv-00007 Document 55", titled

"ORDER". Computing 10 days into the then future, to respond to document 55, is Saturday

August 24, 2013 Date of filing of this document is Monday August 26, 2013.          i   man: michael

haendel, believes response to Case 1:13-cv-00007 "PLAINTIFF RESPONSE DOCUMENT 55

AUGUST 14, 2013" is timely, Fed. R. Civ P. Rule 6(a)(6).

       II.      ABSTRACT

       Defendants, claimed Defendants Representatives, other Travis County Public Servants

have committed aggravated perjury, and continue to commit aggravated perjury, have committed

libel and continue to commit libel against michael haendel.

       Fed R. Civ. Proc. 12(a)(1)(B) limits time period when Defendant(s) can claim can

articulate Plaintiff Original Complaint is insufficient, fails to establish claim.          Claimed

Defendants representatives have allowed statute of limitations to articulate and object to Plaintiff


PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013                Page 1   of 14
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 2 of 64




Original Complaint. Claimed Defendants representatives Elaine Casas, Jennifer Kraber, David

Escamilla are in default object to Plaintiff Original Complaint,.              Claimed Defendants

representatives Elaine Casas, Jennifer Kraber, David Escamilla have produced in their capacity as

Travis County Attorneys, contained in sealed in envelopes with STATE OF TEXAS COUNTY

OF TRAVIS SEAL a series of documents counted to or about 27 pages. The vast majority of

these documents are simply a list of potential witnesses to events transpiring to arrest and

aggravated kidnapping, and false imprisonment of michael haendel on or about January 5, 2011 to

January 8, 2011.

         Therefore Plaintiff Original Complaint, and claim of michael haendel must be declared

valid.

         III.   FACTS

         1.     Case 1:1 3-cv-00007 filed in United States District Court for the Western District of

Texas January 4, 2013.

         2.     Case 1:1 3-cv-0033 filed in United States District Court for the Western District of

Texas January 12, 2013.

         3.     Defendant Michael Digiantionio signed affidavit claimed description January 5,

2011.

         4.     Defendant Michael Digiantionio created and signed Travis County Offense Report

January 5, 2011.

         5.     Defendant Michael Digiantionio swore to Travis County 403 District Magistrate

Brenda Kennedy, under penalty of perjury, signed Travis County affidavit of michael haendel

January 5, 2011, was and claimed is true and correct, under penalty of law.

         6.     Defendant Thomas Eaton signed affidavit claimed description January 5, 2011.



PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013                Page 2   of 14
             Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 3 of 64




        7.       Defendant John Hernandez created and signed Travis County Offense Report

January 5,2011.

        8.       Defendant Hampton created and signed Travis County Offense Report January 5,

2011.

        9.       Defendant Thomas Eaton created and signed Travis County Offense Report

January 5,2011.

        10.      Defendant Thomas Eaton swore to Travis County 403 District Magistrate Brenda

Kennedy, under penalty of perjury, signed Travis County affidavit of michael haendel January 5,

2011, was and claimed is true and correct, under penalty of law.

        11.      Based upon video recorded evidence created January 5, 2011 evidencing arrest of

michael haendel by Defendants, contrary to offense report(s), affidavit(s), or other documents

from Michael Digiantonio, Thomas Eaton, John Hernandez, Hampton, Travis County Attorney

Kenneth Ervin Dismissed charges against michael haendel.

        12.      Defendant Michael Digiantionio has not retracted any statement(s), offense

report(s), affidavit(s), or any other document(s).

        13.      Defendant Thomas Eaton has not retracted any statement(s), offense report(s),

affidavit(s), or any other document(s).

        14.      Defendant John Hernandez has not retracted any statement(s), offense report(s),

affidavit(s), or any other document(s).

        15.      Defendant Hampton has not retracted any statement(s), offense report(s),

affidavit(s), or any other document(s).

        16.      michael haendel career has been significantly damaged and continues to be

damaged by offense reports, affidavits, and other documents sworn under penalty of perjury,



PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013              Page 3   of 14
            Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 4 of 64




contrary to video recording of events of michael haendel arrest, not limited to, by Travis County

Sheriff Deputies acting in their professional and personal capacity, Michael Digitantionio, Thomas

Eaton, John Hernandez, Hampton.

          17.      michael haendel can not have record expunged, without penalty of "Res Judicata"

until approximately June 2014

          18.      Until statute of limitations have expired, possibility of prosecution exist.

          19.      Until possibility of prosecution have expired, potential employers can perceive

potential employee candidates as subject of pending criminal prosecution.

         20.       Potential employers can perceive potential employee candidates subjects to

pending criminal prosecution(s) less desirable to other potential employee candidates.

         21.       michael haendel has been denied MANY potential employment opportunities until

pending criminal prosecution(s) are have been settled, and record expunged.

         22.       Until statute of limitations have expired OR until affiants, but not limited to

Digiantonio, Eaton, Hernandez, Hampton,             and current defendants Digiantionio, Eaton, who

swore under penalty of perjury, recant affidavits, offense reports, and other documents, michael

haendel is continuing to be harmed.

         23.       The record does not reflect ratification of commencement has been filed into

docket for United States District Court for the Western District of Texas Case Number

1:   13-cv-0007.

         24.       The record does not reflect nexus between Defendants and claimed Defendants

Representatives Elaine Casas, Jennifer Kraber, David Escamilla.

         25.       The Record does not reflect Travis County Attorney Elaine Casas ability to practice

law in United States District Court for the Western District of Texas.



PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013                    Page 4   of 14
          Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 5 of 64




       26.     The Record does not reflect Travis County Attorney Jennifer Kraber ability to

practice law in United States District Court for the Western District of Texas.

       27.     The Record does not reflect Travis County Attorney Escamilla ability to practice

law in United States District Court for the Western District of Texas.

       28.     The Record does not reflect Travis County Attorney Elaine Casas training and

ability to produce medial opinion.

       29.     The Record does not reflect Travis County Attorney Jennifer Kraber training and

ability to produce medical opinion.

       30.     The Record does not reflect Travis County Attorney Escamilla ability to training

and ability to produce medical opinion.

       31.     The Record does not reflect Travis County Attorney Elaine Casas has medically or

psychiatrically examined michael haendel.

       32.     The Record does not reflect Travis County Attorney Jennifer Kraber training and

ability to produce psychiatric opinion.

       33.     The Record does not reflect Travis County Attorney Escamilla ability to training

and ability to produce psychiatric opinion.

       34.     The Record does not reflect Travis County Attorney Elaine Casas has medically or

psychiatrically examined michael haendel.

       35.     The Record does not reflect Travis County Attorney Jennifer Kraber has medically

or psychiatrically examined michael haendel.

       36.     The Record does not reflect Travis County Attorney Escamilla has medically or

psychiatrically examined michael haendel.

       37.     Claimed defendants representatives filing is default for claim of affirmative relief.



PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013               Page 5   of 14
          Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 6 of 64




       38.     Claimed defendants representatives willfully violated Case     1: 13-cv-0007,


"Scheduling Order", document 28, but failing to comply with Fed. R. Civ. P. 26(f), admitted

"DEFENDANTS M. DIGIANTONIO AND THOMAS EATON'S DISCLOSURE PURSUANT

F.R.C.P.26(a)(l), page 1".

       39.     Defendants claimed representatives have created official document and have sent

same document "DEFENDANTS M. DIGIANTONJO AND THOMAS EATON'S

DESIGNATION OF EXPERTS, POTENTIAL WITNESSES AND PROPOSED TRIAL

EXHIBITS", to michael haendel.

       40.     Contained within "DEFENDANTS M. DIGIANTONIO AND THOMAS

EATON'S DESIGNATION OF EXPERTS, POTENTIAL WITNESSES AND PROPOSED

TRIAL EXHIBITS" page 14: "Dr. Daniel Culver Hart MD. Medical Director for the Travis

County Correctional Complex Travis County Sherffs Office P.O. Box 1748 Austin, TX 78767 (st2)

854-4661."

       41.     Contained within "DEFENDANTS M. DIGIANTONIO AND THOMAS

EATON'S DESIGNATION OF EXPERTS, POTENTIAL WITNESSES AND PROPOSED

TRIAL EXHIBITS"page 15:         "Dr. Hart holds the opinion that the policies and procedures of the

Travis County Sheriff's Office are appropriate in providingfor the numerous medical needs of

inmates, in accordance with state and federal law. Dr. Hart has reviewed the TCSO policies and

procedure manuals and will review Plaint[fs original complaint, Plaintiffs' responses to

interrogatories and deposition testimony, the TCSO incarceration medical records, inmate file

and booking file. In addition, Dr. Hart may testify as to his medical opinion as to the possible

medical causes of Mr. Haendel's wrist pain, which may be related to diabetic neuropathy.




PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013               Page 6   of 14
          Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 7 of 64




       42.     Dr. Daniel Culver Hart M.D. Medical Director for the Travis County Correctional

Complex Travis County Sheriffs Office P.O. Box 1748 Austin, TX 78767 (st 2) 854-4661 has

never examined michael haendel.

       43.     Dr. Daniel Culver Hart M.D. Medical Director for the Travis County Correctional

Complex Travis County Sheriff Office P.O. Box 1748 Austin, TX 78767 (st2) 854-4661 has

medical opinion of michael haendel. as related to "diabetic neuropathy".

       44.     michael haendel made requests to Travis County Sheriff Deputies to loosen hand

cuffs at every available opportunity because my, michael haendel hands were "numb from wrists

at point of contact of hand cuffs to end of fingers".

       45.     michael haendel has not experienced any numbness in hands prior to application of

hand cuffs, January 5, 2011.



       IV.     ARGUMENTS AND AUTHORITIES

       Under Fed R. Civ. Proc. 12(a)(1)(B) "(B) A party must serve an answer to a counterclaim

or crossclaim within 21 days after being served with the pleading that states the counterclaim or

crossclaim.". Claimed Defendants representatives objected to claim of michael haendel July 22.

2013. Defendants were served with Plaintiff Original Complaint January 17, 2013.        Statute to

object to claim of michael haendel expired February 7, 2013. Statutes of limitations to object to

claim of michael haendel has expired, and must be assumed Defendants and Defendants are in

agreement claim of michael haendel is valid. Defendants objection to claims of michael haendel

must therefore be dismissed.

       michael haendel move the court to take judicial notice of B.Platsky v. CIA, 953 F.2d 25,

26 28 (2nd Cir. 1991), 'Court errs   if court dismisses pro se litigant without instruction of how


PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013              Page 7   of 14
         Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 8 of 64




pleadings are deficient and how to repair pleadings.". United States District Magistrate Samuel

Sparks has not provided adequate remedy to michael haendel to repair Claim of michael haendel,

if claim if defective. michael haendel moves the Court to take judicial notice if Haines v. Kerner

et al.No. 70-5025 S.Ct. 404 U.S. 519; 92 5. Ct. 594; 30 L. Ed. 2d 652;(1972) 99; 16 Fed. R. Serv.

2d (Caiiaghan) December 6, 1971, Argued, January 13, 1972, Decided" Petitioner inmate sought

review of a decision by the United States Court of Appeals for the Seventh Circuit, which affirmed

dismissal of his action under 42 U.S.C.S.   §   1983 and 28 U.S.C.S.    §   1343 (3) against respondents,

state officers and prison officials." The inmate sought to recover damages for claimed injuries

and deprivation of rights while he was incarcerated under a previous judgment. The inmates pro se

complaint was premised on the alleged action of prison officials placing him in solitary

confinement after he had struck another inmate on the head with a shovel. The complaint included

general allegations of physical injuries suffered while the inmate was in disciplinary confinement

and denial of due process in the steps leading to that confinement. The district court dismissed the

complaint for failure to state a claim upon which relief could be granted, suggesting that only

under exceptional circumstances could courts inquire into the internal operations of state

penitentiaries and concluding that the inmate had failed to show a deprivation of federally

protected rights. The inmate contended that the district court erred in dismissing his complaint

without allowing him to present evidence on his claims. The court held that the inmate's

allegations were sufficient to require that he be provided the opportunity to offer supporting

evidence. The district court's judgment was reversed and remanded. "The only issue now before us

is petitioner's contention that the District Court erred in dismissing his pro se complaint without

allowing him to present evidence on his claims. [***HR1] [***HR2]. Whatever may be the

limits on the scope of inquiry of courts into the internal administration of prisons, allegations such



PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013                 Page 8   of 14
          Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 9 of 64




as those asserted by petitioner, [**5961 however in artfully pleaded, are sufficient to call for the

opportunity to offer supporting evidence. We cannot say with assurance that under the allegations

of the pro se complaint, which we hold to less stringent standards than formal pleadings drafted by

lawyers, it appears [*521] "beyond doubt that the plaintiff can prove no set of facts in support of

his claim which would entitle him to relief." Conley v. Gibson, 355 U.S. 41, 45-46 (1957). See

Dioguardi v. Durning, 139 F.2d 774 (CA2 1944). {***HR3] Accordingly, although we intimate no

view whatever on the merits of petitioner's allegations, we conclude that he is entitled to an

opportunity to offer proof. The judgment is reversed and the case is remanded for further

proceedings consistent herewith." Reversed and remanded.

       It can be evident Claimed Defendants representatives; Travis County Attorneys are

intending to amass the Political Power, Prestige, Legal Prowess, and the effective untold and

unlimited Wealth of the Travis County Attorney Office in opposition to claim of michael haendel.

It can be assumed by one degree on inference, Plaintiff Original Complaint is perceived as valid,

true, and correct, by mere inference of the formidable response of Travis County Attorney Office

with examination of Travis County Attorney Office defense of aggravated perjured statements

made by Defendants against michael haendel, and said defendant statements contrary to video

recorded evidence. Video Recorded evidence of events occurring January 5, 2011 were

significantly influential in proving Defendants committed aggravated perjury, continue to commit

aggravated perjury, have committed conspiracy and continue to commit conspiracy against

michael haendel, resulting in Dismissal with No Opposition to expunction, after over 500 day of

prosecuting michael haendel. Travis County Court procedure is to dispose of a case no later than

200 days. Told to me, michael haendel by trusted associate, "Travis County Attorney Kenneth

Ervin and Travis County Attorney Office had confided to associate, Travis County Attorney



PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013               Page 9   of 14
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 10 of 64




Office are causing economic hardships to to then defendant, now plaintiff michael haendel, for the

sole purpose of extortion, and pressure mcihael haendel to accept to "Plea Bargaining" with

Travis County Attorney Office and accept a guilty plea to charges, Travis County Attorney Office

ultimately dismissed on the eve of trial.

       michael haendel believes Travis County Attorney Office is intending to and is

"Economically Threaten" with retaliation of economic sanctions against Plaintiff, i man: michael

haendel.   Defendants have not, and apparently will not recant aggravated perjured statements

made against plaintiff, michael haendel. Plaintiff demands Defendants statements from but not

limited to, TCSO Michael Digiantonio, and TCSO Thomas Eaton, TCSO John Hernandez, TCSO

Hampton not just expunged, but elimination of false criminal record of michael haendel, and

elimination of criminal record of michael haendel.



       michael haendel moves Claimed Defendants Representatives to provide summary of

each witness and potential witness testimony to michael haendel.




PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013              Page 10   of   14
       Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 11 of 64




      V.     EVIDENCE

1.    Plaintiff Exhibit A.:     CD-ROM (containing video recorded evidence arrest michael

      haendel Janury 5, 2011)



2.    Plaintiff Exhibit B.:     "BUSINESS RECORDS AFFIDAVIT" TCSO Shelly Eaton

      verifing authenticity of Exhibit   1




3.    Plaintiff Exhibit C.: "MOTION FOR COURT PROVIDED SUPPRESSION AND OR

      FRANKS HEARING", filed February 21, 2012 TCC8, C-i-CR-il -200319



4.    Plaintiff Exhibit D.:         "CRIMINAL               AFFIDAVIT",        April    23,   2012    TCC8,

      C-i-CR-i 1-200319



5.    Plaintiff Exhibit E.:          "MOTION                TO   DISMISS       (NO     OPPOSITION       TO

      EXPUNCTION)",        submitted         April    25,    2012,     ruled   May     21,    2012,   TCCS,

      C-i-CR-i 1-200319



6.    Plaintiff Exhibit F.: "DEFENDANTS M. DIGIANTONIO AND THOMAS EATON'S

      DESIGNATION OF EXPERTS, POTENTIAL WITNESSES AND PROPOSED TRIAL

      EXHIBITS"



7.    Plaintiff Exhibit G: "DEFENDANTS M. DIGIANTONIO AND THOMAS EATON'S

      DISCLOSURE PURSUANT F.R.C.P.26"



PLAINTIFF RESPONSE   DOCUMENT 55 AUGUST        14,   2013            Page 11 of 14
         Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 12 of 64




       VI.     PRAYER AND REMEDY


       Fed R. Civ. P. 12, Plaintiff moves Court to open to public United States District Court for

the Western District of Texas, Austin Division case 1:13-cv-00007, document 53, deny claimed

Defendants representatives Motion to Dismiss, provide list of times and dates when Motions

Hearing can be scheduled with Court, compliant with "Document 28". Plaintiff requests Court

to provide list of available time periods during morning hours of day. Plaintiff further petition

court removal of pending charges against Plaintiff, elimination beyond expunction of criminal

and mental health record created in fraud, compensation physical damages to plaintiffs hands,

arms, and potentially neck, compensation, incarceration, compensation lost and reduced earning

potential, compensation medical, legal, expenses, compensation reduced quality of life. Deny

any affirmative relief to Defendants, Defendant's Represemtatives, for default response, and

contempt of Court order "Document 28". If Court rules Claim of michael haendel is deficient,

provide remedy and recourse to correct claim. B.Platsky v. CIA, 953 F.2d 25, 26 28 (2nd

Cir. 1991).   michael haendel moves Court to compel Travis County Attorneys produce to

michael haendel summary of witness statement, Exhibit F, Exhibit G. For these reasons,

plaintiff asks for judgment against defendants, additionally stipulated in prayer,

"PLAINTIFF'S ORIGINAL COMPLAINT", Court provided assistance of legal counsel,

Further, I, michael haendel, man, not corporation, Plaintiff, Prosecutor, and indigent, request a

waiver of any costs for mediation, Respectfully submitted,




Signature in red ink by michael haendel, P.O. Box 300952, Austin, Texas 78703,

Further the Affiant saith not.


PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013                Page 12   of 14
             Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 13 of 64




   VII.        VERIFIED AFFIDAVIT OF michael haendel

         STATE OF TEXAS

         TRAVIS COUNTY                   §


         Before me, the undersigned notary, on this day personally appeared michael haendel, man,

affiant, whose identity is known to me. After I administered an oath to affiant, affiant testified:

          'My name is michael haendel. I am competent to make this affidavit. The facts stated in

this affidavit are within my personal knowledge and are true and correct."

         I   ,michael haendel, certify and verify amount of claim covers only damages and injuries by

the incident above and agree to accept said amount in full satisfaction and final settlement of this

claim.




Signature in red ink by michael haendel ,P.O. Box 300952, Austin, Texas 78703,


SWORN TO and SUBSCRIBED before me by michael haendel on                                       2013.




             /r/                                                                  Ix!e]
Notary Pu)c in and for The State of Texas




PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013                  Page 13   of 14
             Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 14 of 64




    VIII. CERTIFICATE OF SERVICE: michael haendel,

         I, michael haendel, do   hereby certify and verify that    I   have submitted a true and correct

copy of the above and foregoing, on the              25     day of the month of          August       ,   year

2013, I certify that original and copy of PLAINTIFF RESPONSE DOCUMENT 55 AUGUST

14, 2013 complies with Fed. R. Civ. P. 12(b)(1), and Fed. R. Civ P. 12(b)(6), was personally hand

filed, in:

                                                     a.
     UNITED STATES DISTRICT COURT, WESTERN DISTRICT OF TEXAS, AUSTIN
             DIVISION, UNITED STATES DISTRICT CLERK'S OFFICE,
                501 West Fifth Street, Suite 1100, Austin, Texas 78701,




                                                     b.
                      ELAINE A. CASAS, JENNIFER KRABER,
        COUNTY OF TRAVIS CLERK'S OFFICE, COUNTY OF TRAVIS ATTORNEY,
                           CIVIL LITIGATION DIVISION,
                  314 West 11th Street, Suite 420, Austin, Texas 78701,
                               or clerk at front desk, and,




        Signature in red ink by michael haendel, P.O. Box 300952, Austin, Texas 78703,

                  SWORN TO and SUBSCRIBED before me by michael haendel,

                    onday    25            ofthemonthof     August        ,inyear20l3,


                                                                                                 ;:; ESTRADA
                                                                                                My Commission Expires


                                                                                            -     .                 _
                            Notar\/Iublic      in and for The   Sac of Texas
                                     (-I




PLAINTIFF RESPONSE DOCUMENT 55 AUGUST 14, 2013                     Page 14   of 14
                Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 15 of 64




                                                                                                                                                                                     '
                                                                                                                                                                                     /




                                                                         N


                'I

                                                                     W!ESS_iuORD
                         ..




                                                         aridersed                      a.thtrit             p'rson            :




                                                          tr'.       i   ras       (.    .unt       Sn           fs   (:::                                                   L.cn.

                                                             depuse            &        o1iows;


                     :vk:           i.n]e               Sh:.     v           rn:ord                 :iion,        aa       ci
                     .   an.:!        erS::II                                                   JIe ract              ated                                           1   :



                                                                 r
                                                                                               '1        .                 K           w
    I                                                            (           ni.    Shanii           s   Uzc                                            i




    :c:                       j       jfl     ;
                                                                             Travis County Sheriffs Of
        irji.    .CL1Pi'                                                       t         rU1             curs of           hups
        OUflL\                            S                     Vj           r'           J         Oj       U    CL                                LI                   IWIL
           ded                    :....                                       to    trarsmt ntorrratio                                  e           hId          U
                                                                                   me         .ir   rasui.ib1: 500                                  I       he           crJ
    arTU ar                               or'i                   e.                piic             olth:         rigm1.




                                                                                   -,c/J,
                                                                                    __     __
                                                                                          1tn,
                                                                                         ariirnon.                        Sr.      }   /waeiI           Internal             A1
                                                                         Tnv            Cun;v        Sheiiff           Offie


                                                  :    ane     SHJIE.D                              icire                 by           L.   r   .                            E/L.
    lntcrna          AJTiirs. c                       his the                iav          Tocn--et


                                                                                                                 .:1i
                                     AMMONSI
I                                 PLlbiC
                                                                         Nt-            Public in and                 r


                                          _____                               StteofTEX.
            Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 16 of 64




                    ItS   THE TRAViS COUNTY COURT TN ANt) F (f. COUNTY_OF TRAVIS
                                           STATE OF TEXAS

                             TRAVIS COUNTY CAUSE NUMBER:                                            C-i-CR-I 1-200319


                                                     lHua'y2l:h,

TI IL     STArE OF TEXAS                                         §                                  IN TI IL. TRAVIS COUNTY COURT
                                                                §                                   OF LA         V   S

V.                                                              §
                                                                §
Michael Hacndel                                                 §                                   TRAVIS COUNTY. TEXAS

           MOTION FOR COURT PROVIDED SUPRESSJON AN!) Ok FRANKS IJE.RLSG


COMES N(.)W the Pro Se. Lead Counsel, Defendant, Michael Flaendel, in the above                                                      .       ..3 jjvj numbered

cause and moves the Court, the followine statement'                       v'   bich are tat uaIIv in cew_ac eimher Lnowinciv and

intentionally, with reckless disremard or the truth were included in the probable cause affidavit and relied

upon b Magistrate and District Judge Brenda Kennedy, when determi;                                            ne      the existence at probable

cause of' Michael Haendel, Travis Counn Ct u-c Nember C-i -CR- H 200319.


            1.  STATEMENTS FROM: "AFFIDAVIT FOR W.L.. :-T OF ARR.e,               J)
                                                  DETErTION"
The following numbered sentences are taken directly from "AFFIDAVIT FOP WARRANI OF          ti:




ARRESI' AND DETENTION", THE COUNTY OFTRAVIS .......                                                   Ca     NUMLEF C-I-CR-i 1-200319,

The purpose of numbering the sentences is intended for the ease ofreièt.aic;;H end judicial efficiency


     1.     TCSO Case # 11-364 AFFIDAVIT FOR VCARRANT OF ARREST ANI                                                                                ION




     2.     The undersigned Affiant, who after being duly sworn h me. on oath. makes the 0- ..... It

            statement;



     3.      1   have good reason to believe and do believe, that on or about the day of lanuarv 5th 201                                                    1   r       ,,

            Travis Coun1, Texas, Haendel. Michael W/M DOE 412,'1962 did there                                                       4cthri           diti


                      .
                                  ............




                                 MO' ION lOR (01 0
                                                  '7/
                                 ...................................

                                                     IIO)   111(11 't
                                                                     1'
                                                                        PHI ,,R1\
                                                                               1.
                                                                                    -



                                                                                        -
                                                                                            AO OR
                                                                                                      .4__
                                                                                                    FRANKR
                                                                                                             ..



                                                                                                              FR\1
                                                                                                                  ,
                                                                                                                              !_±;,'-

                                                                                                                          _-.'-.,
                                                                                                                                              '
                                                                                                                                                   ---/
                                                                                                                                                     -'



                                                                                                                                                  ,,''
                                                                                                                          e)             -
                                                                                                                                                                    -
       Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 17 of 64




                                                                     Duties (Class                        H   Misd, (PC,)
       intentionafls commit the offense of: Interference With Public

       38   b
4.     M belIef of the foregoing statement is based            upon:X Persos. . "uwiedge On Januar 5th.
                                                              uniformed seeuni. at 509 West                                   th
       2011, The Affiant Deputy T. Eaton # 3605 while working
                                                                                                                          I




       Street observed Deputy Digianlonio # 150k at the main screenine
                                                                       siaUo, insiructing a sith1eet

                                                                        his belt.
       later identified as Flaendel, Michael w!M DOE 4/2/1962 To remove




5.     Handel then became argumentative.




6.     Haenclel was told he had the eiioiee           comply with s. eni;.L: or leave the building.



                                                                    belt on the machineS
7.     Elaendel walked back through the metal detector throwing his



                                                                                                  to leave.
       l-iaendel then alerted on the metal detector hut suited he
                                                                               ii:-:
8.



                                                                            Haendel all the signs
9.     The affiant explained to Haendel that screening proce.::: end showed

       explaining the process.



10,    Haendel stated he did not want to talk he wanted to leave.



 11    Haendel came through to gather his items to leave the buii.iing.



                                                                                                  to leave hut continue
       I-laendel approached Digianlonio and told him he did now no.
                                                                                            .e:
 12.

       through to court without being screened.




                       -                                                                    :
                          '-l(JR)N   0R ( 000T   PROVIDFI) DI'R)")O   AR)) OR R)A\..'   0
          Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 18 of 64




    13.   The affiant approached Haendel and explained he had to                      kt           building and     c..   a!ain

          i-laendel became argumentative.




14.       Flaendel quickly grabbed a long cylindrical object from around his neck, and Digiantonio

          placed his right arm on Haendels arm to stop him from manipulating or using the objeci around

          his necl.




15.       ilaendel then grabbed Digiantonios arm aiid began to struggle with him,



I   6.    kffiani and Deputy Hemandez                            k conire!     o' ........ 'elel placing him in restraints.


17.       The Affiant is a Commissioned Peace Officer in the
                                                                                           '';..   j   is emplm           H the

          'l'ravis County Sheriff's Office. The above described even                       occurred in Travis (.uuity, exas.




                                                --
                           MCi ON   0CC   URi   CO   VIE   '   'CCE'.SI0" V,   (CR
                                                                     Ci
         Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 19 of 64




                                                 11.        CONTSTEL) STATMENTS

                                                        BLACK WELLFJ P.R MAN
The following is derived from TRAVIS COUNTY COURT HOUSE
                  lI STREET, AUSTIN TEXAS, video surveillance cunieras. As wifl be obvious
BUILDING 509 WEST
                                                            conii                         :. worn statements from TRAVIS
to anyone viewing video surveillance, the evidence directly

                                               TRAV1                                                      FY SHFR1l   [O.3PUTY
COUNTY SHERIFF DEPUTY DIG1ANTONI() F 150$, and
                                                                                              (.




ThOMAS EMON F 3605.

                                                                                 from witness, where no
         Section   1,   Line 5, Siateniwa "became argumentative" is a conclusion

         evidence       is   ever provided.



                                                                                               is contradictor
    2.   Section   1,    Line 7, Statement "Haendel walked back through the metal detector..."

         as compared to video recording.



                                                                                            n:             as compared to video
    3    Section   1,    Line 7, "...throwing his belt on the machine." is

         recording.



                         Line $. Statement ".. stated            heust wanted tn       ,?\c:."   Never (Leurred at anytime du; ing
    4.   Section   1.



         interaction with an Travis County Sheriff Deputies.



                         Line 9, Statement "The affiant explained to }iaend:!. that screening
                                                                                              process..." is a
    5.   Section   1,



         conclusion from witness, where no evidence is ever provided.



                                                                                        process." is
    6.   Section   1,    Line 9, Statement "showed F{aendel all the signs ospiwning the

         contradictory as compared to video recording.




                                                                  .'-
                                           ..




                                     5fl)Ifl)'   FO    ( oLs.Lnean)s_o_sijso sSur a!a5RA'K'.LL,ytii5(,,
          Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 20 of 64




7,        Section   1.       Line 10, Statement "Haendel stated he did n.e                                   ..t         to   talk" is a conclusion, where no

          evtdence is ever provided.



8.        Section   1,   Line 10, Statement "he wanted to leave" is conclusion where no evidence is ever

          provided.



0.        Section 1. Line 12, Statement "Haendel approached L)igiantonio and told him he did now not

          want to leave..." is conclusion where no evidence is provided.




10. Section         1,   Line 12. Statement "hut continue through to court                                               irhont boi         screened." is

          conclusion where no evidence is provided.



11.       Secticn   I,   Line 13. "The affiant apprmici'e1 I Inendel" is directly contradictory to statement made

          in line 12 where witness stated "H.aendel                          ap;r:ched )nmn nio.



12,       Section 1. Line 14, Statement "Haendel quickly grahbed a long cylindrical ohect from around his

          neck," a conclusion, where no evidence is ever proeioed.



13.       Section   1,   l   ,ine 14.    ".   ,   L)igiantonio placed his right arm on Hacndel's arm,..", is coo :.l cory as

          compared to video recording.




14. Section         1,   Line 14, Statement ". .t stop him from manipulating or using the ohect around his
                                                             ,




      neck." is contradictory as compared to video recording.




                                  ....    .
                                                                                            7/...
                             -                      r

                                                                                                                                            ..


      .
                                                             /W                                                                       '.'




                                          MOiJO'.       OR (OlR   'RU'.   rn U   'I   PlO '"lU'.   'U   OR   llt\.\K'.        A
      Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 21 of 64




15.   Section 1, Line 15, Statement "Haendel then grabbed U                        aanios arm" is contradictory   as


      compared to video recording.



16. Section    1,   Line IS, Statement 'and began to struggle with him." is contradictory as compared to

      video recording.




                                                                                                          ,:
              ..




                                                  z
                             ',IOT)N FOR   (   OUR !ROVrDEO SUPRFS',I)'   ',   OR IR   ',ls"   H! ¼R!NU
      Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 22 of 64




                                               HI,            ARGUMENTS

     Line number 2, 3, 6, 13, 14, 15, 16, 17 are inconsistent with video surveillance evide                                F enred
     into the record, and should he considered by the court as PURJURED STATEMENTS.

2.   Line number   1.   4, 5, 7, 8. 9, 10.   Ii,   12, are    conclusions made by witness without supported sworn

     evidence, and consist of primarily as speech. Furtherniore, Carnee                              v.   State$; S.W3d 392. 98

     (Tex.App.-Austin 2000, no pet.). "tdnc..r 2L.1 5, arguint                         ei1h   the officers does not constitute

     an actionable offense. Speech is a statutory defense to the offense charge even if the end
                                                                                                result

     is stalling. The culpable mental state under the statute is criminal negligence'

3.   Appellate courts have ruled that it is the it is the trial court's jurisdiction to remove the "taint" and

     find probable cause in warrantless arrests.

4.   District Judge Brenda Kennedy erred by relying solely upon th periared, i'ffidavit OSTRAVIS

     COUNTY SHERIFF DEPUTY DIG ANTONIO # 1508, and TRAVIS
                                                   1
                                                                                                           (.0      Y SHERIFF


     DEPUTY THOMAS EATON # 3605.

5,   District Judge Brenda Kennedy erred by not viewing surveillance video ot th .......                              n1   related to

     TRAViS COUNTY CAUSE NUMBER: C-LCR-1 1-200319.

6.   District Judge Brenda Kennedy omissions of duties or errs of judgment                                 canoLi   .ahiish probable

     cause, therefore her order is void upon its fhce.

7.   Because probable cause cannot nor ever he established, the warrantless arrest o V
                           5,
     Haendel, January           2011 is ILLEGAL.

8.   All charges against Michael Haendel. TRAViS COUNTY CALHi: ;UMBER:                                              ('-I-CR-I I-

     2003 19, need to he immediately disnios...l              \i1h   prejudice




                                             /'    g
                             1OTIO' FOR ('0 RI PRO\ DI   II    'RF,I(I\ \\1   II   I
                                                                                              - -I
                                                                                       "0(S iIF.'OC-'O
       Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 23 of 64




                                               IV.       AL1THORITIES

     Shoemaker v. State, 233 P. 489
 Okla.Crim.App.. 1925
 To warrant conviction for perjury, stale must: prove by extrnsic evidence that statement on which
 prosecution is founded is false.

 2. 278 S.W.3d 861 PAULEA v Texas
  Warrants shall issue, hut upon probable cause, supported by Oath or affirmation, and j:un:.
describing the place to be searched, and the persons or things to be seized. U.S. Const, amend, IV
Generally, an arresT or search without a valid arresi warrant is unreasonable unless it fits into one or
more recognized exceptions. See Torres. 182 S.W.3d at 90 131 [41 When the State seeks to justify
                                                                                 pace
                                                                           .




an arrest on the basis 'ía warrant, it is incumbent on the State to            the ..:irr:n ....... its
supporting affidavit for inspecl ion by the trial court. i.th'ridge v. S:.o, QOt S. W,1: 1. 19
(Tex.Crim App. 1994) " 'This requirement is imposed so that the trial court may inspect the
                        .


documents and determine whether probable cause exisred arid ensure that the arresices rights have
been fully

3.   278 S.W,3d 861 PAULEA v Texas
U.S. CONST, AMEND. IV. Generally, an arrest or search wihtn a valid arrest warran:
unreasonable unless it fits into one or more recognized exceptioi';.      : orres, 182 S,\V. d at 90!.
[3] [4] When the State seeks to justify an arrest on the basis of a e.n'rtnt. it is incuinheni a he Sniie
to produce the warrant and its supporting afdavit for inspection by the trial court, Etl.'ri.ia ..
903 S.W.2d 1, 19 (Tex.Crim.App. 1994).         'hrs rquirement is imposed SC) that the trial cort ma\
inspect the documents and determine whcui'.:r prai;.ble c:Iu.e 'dted and ensure that the arrestees
rights have been filly protected.' " Id. (quotno uarrett v. :vaj' 71 S.\V.2d 137, 4(1               I



('lex.Crim.App. I 900)). However, if a warrant is required to ma' a ':iid arrest, the Siai:'. failure to
produce it at a suppression hearing does not mandate suppression of evidence. See V 'no .. State
167 S.W.3d 350, 356 (Tex.App.-.Houston [14th Disc] 2005. pet. retd). In su.                        a".
                                                                                            tere must be
sufficient evidence introduced  at a suppression  hearing to provide  the trial    urt  itt an opportunity
                                                                                              L.


to determine whether   probable  cause existed br  the accuseds  arrest, See   iit'rida',  903 S,W.2d at
18: Weems, 167    S.W.3d  at 357.

4.  Crane v. State, 786 S.W.2d 338, 346 (Tcx.Crim.App. 1990).
Appellant argues that no probable cause existed for his arrest because he did not violate an,y traffic
ordinances, A reviewing court considers the totality of the circumstinces grounded by fai'is when
reviewing tie novo whether probable cause exists to effect a Wa1Tal:tie: arrest. See Thn:.
S.W.3d at 902. The burden falls on the State to prove probable cauve j.siOvng a Warrioiltes arrest       Or

search.

5. Pendleion v. State, 156      N.E.2d 782
End., 1959
Rule that to warrant conviction of perjury the evidence must he such as to satisfy jury as to exclusion
of rational doubt of falsity of' matter sworn to by accused. and that such evidence must be no less than
the direct and positive testimony of two witnesses or onc itar and corrohc rating facts arid
circumstances applies only to the fact of false swearing and          e'cry detail or act surrounding the
fact alleged as falsely sworn. Bums Ann,St. § 10-3802.

6.    278 S.W.3d 861 PAULEA v Texas



                                                           -
                            nj]aQNFORiia,jjLPI)O')))H)Sl)R1SSIO, ',tl ("8 (8 \\RS HF.8)rn(;
      Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 24 of 64




                                                                                                S.W,3d ar
 lEX. PENAL CODE ANN. § 42.03 (Vernon 2003).as the State ur4es)'N4 See 'lorres, 182
                                                                            supri  sting probable cause
903 (concluding that opinions of officers cannot be transformed in:::                                ..::;'.



to arrest without supporting evidence in the record); ccc aio Ford v. State, 158
                                                                                  S.d.  3d 488, 494
                                                                                                    that
(Tex.Crim.App.2095) teoncluding that Staw tailed to eheit facts to support an officer's judgment
the accused violated a Traffic law of following another car too u1oe in order
                                                                    l\          to  determine
                                                                                              acke;
reasonable suspicion to stop): Richardson. 39 S.W.3d at 640. }ltereforc, appellant's aries:
probable cause and was unlawful. See Tones, 182 S.W.3d at      903


7,  Pendieton v. State. 156 N.E.2d 782
lnd.,1959
To warrant conviction of perjury, evidence must be such as to sat 0. ,; to exclusion
doub: of fitlsity of matter sworn to by accused, evidence must ne to ..; than direct a                  .




testinioy of two witnesses or one witness and                       acts a:.1 circum a
evidence is not limited to a denial in ipsissimis verbis   oftestirnori    siven by debar La. .;ne in; tides
nov positive testimony ofa contrary state    of uv:ts from  that sworn   to  by him, or that is
incompatible with his evidence, or physically    inconsistent   with the   act:- . tesolied to.       .vid mee

                                          every  other  reasonable                except     ..'co:..i:u's go.
roust he of such character as to exclude                             hyi                   '.   t      .;:-.




Burns' Ann.St. § l03802.

8.  Spaeth v, U.S., 232 F.2d 776
C,A.6.Ohio, 1956
                                                                                              and in such a
In penury cases, falsity of testimony cannot he proved by circunts:a::. al evident
                                                                                   a to''                                        ...




case court should not  charge  that circumstantial evidence alone, ma) warrant  (-n's.    ii,                               ".




9.   264 S.W.3d 356 BLOCKER v Texas
264 S,W'.3d 356, 'l'ex.App.-Waco, July 30, 2008 (NO. lO..06.-00336--('P.
U.S. Tx,, 2005
                                                                                                  made with
Determination of whether a probable cause riFfiant's s::ot.'tnents we:'; :;'i:bera:'.'o
                                                                                            tinder  arid judge
reckless disregard of the truth is a qii''stinhi of 1u:i and [0;: trial cots:, a; the so
of the witnesses credibility, is owed ere:u telen ne one ts rulin, 'vii! he ase;':u,     ci .anlv if it was an

abuse of discretion, U.S,C.A. Const.Ani".. .1,


10. Oarzav. State, 161 S.W.3d 636
Tex.App.San.Antonio,2005
A roven misstatement can vitiate an affidavit in suppor: of' a search or ares
                                                                                 a: s    on', if it is                 .   ::




established that the misstatement was the product of deliberate falsehood or of re.'eless disregard for
the truth.

11. Davis v. State, 144 S.W.3d 192
Tex.App.Fort. Worth,2004
Officers statements in affidavit supporting nice: toni su:si C:: warrant were false and made with a
reckless disregard for truth, and thus si cli statement:; wc;'e a U,. '.:ciew! fr':.':: affidavit in date; a
whether there was probable cause to issue warrant; while affi±; sat                   it confidential i:'.,'br: a:
                                                                                                               t:,J1



had been resident in particular county for over 20    years  and  enip10       a  'as::     tSar c an.
                                                                                                .-
                                                                                                               n' r                    .




ten years, testimony was given that showed      statement  was  false, am'. ",  den   ..... .' c. ......' oat 'howed
officer's statement that particular individual use       place to he searched was ;5:w to.. that driver's
                                                           ii     it:



license number officer gave as defendant's     was     act not defendants. U.S.C.A. 0 sos .. Amend, 4;
                                                           it',




Vernon's Ann.Texas Coast. Art. I. § 9:    Vernon's    An.Texas    C,C.P, art. 18,0l.

12.   VAN)JETER       v. Texas 165 S.W.3d 68




                            \l(tIiONFOk, tiUtt   '
                                                     I   lt'l           IS   _,.5_5
       Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 25 of 64




  U.S.Ts.. 2005
  ..5Uifl cuon hearing is the determination of historica; aets that are rarely cubic      appellate review
  in ligh    the required deferential standard of reviev.. and when resolving suppt s'.c' a issues, a trial
 coun is charged with the responsibility to accurately find the relevant facts and to lane critical
 demeanor and credibility assessments; and (c) Confrontation and cross-examina er; drould applt at
 pretrial suppression hearings, not because those hearings serve the carrie purpose a: ttials, hut because
 the protections provided by the guarantees serve the ohectrves of suppression liearrtrns--flnding
 reliable facts relevant torn and assessing demeanor and credibility r..cscarv to, rcsoiUt)fl of the
 Suppression...

 13. lllinths v. Rodriguez. 110 S.Ct.             27°
 U Sill.. 990
 If magistrate, based upon seeittingh redabic h;r: maetuaii naccitrate information, issues warrant for
 search of house in which snuale-atter kion is not present, has never been pr atrlt, and was never
 likely to have been present, owner of that house suffers one of the inconvcnr.'nee to which everyone
 is exposed as cost ofliving in safe society, hut owner does not suffer violation cf iourth Amendment.
 U.S.C.A. Const.Arnend. 4.

 14. Franks v. Delaware, 98    S.d. 2674
 U.S.Del., 1978
 Where defendant makes substantial preiimiiwr\ ilving that Hil           .:,.,a.: at knowingl\                                  .ifl(l


 intentionally, or with the reckless disreun H a in truth, wa   I      ijef l :tffiant in searco v arrant
                                                                                                      5;



 affidavit, and if allegedly false statement is. taecniy to findirr. of prob:.e'ii cause. Fourth
 Amendment requires that hearing hr held at deterldants request. IJ.S,C,A.Const. Amends. 4. 14.

 IS. Franks vt Delaware, 98 S.Ci. 26'74
U.S. Del., 1978
if. after evidentiary hearing. defendant esnuri:;lte: h\ .. ;:panderatce of c'......... 'Set a                        .



statement knowingly and intentionally, or tith reckles isregard for the a:. "a 'cludef b
affiant in search warrant affidavit, and, with affidavit else material sn          .......... a .ticits
                                                                                    .




remaining content is insufficient to establish probable cause, search . ':'nant m . i, voided end fruits
of search excluded to the same extent as if probable cause was lacl...ii on the face of the affivavit.
U .S.C.A.Const. Amends. 4, 14.


 16. Franks v. Delaware, 98 S.Ct. 2674
U.S.Del.,1978
Aasumption that factual showing of probable .;'Ne in affidavit for search warrant will be a "truthful"
sI n ir:c; a es not mean "truthful" in the sense dat every fact recited in warr;afl a    vi' js
:t,-ccssarii' correct, for probable cause may he i urided upon hearsay and upe.. a;. ;itaHot; renetved
from inforniants, as well as upon information within afliant's own knowledge the: .ome timo must he
garnered hastily; but showing is to be "truthful" in the sense that information put forth beiic'ved or                    it.


appropriately accepted by affiant as true. U.S.C.A.Const. Amends. 4. 14.

17.   Rugendorfv. U.S., 84 S.Ct. 825
U.S.11l,,l 964
Erroneous statements, which were not those of affiant, in affidavit upon the basis of which search
warrant oats issued would not show that affiant was in had faith, or that he made misrepresentations to
secure ;.irraflt.


                                                                                                             ",
                                                                                            5,

                         NIOl 101', 101   ('01   RI   I'IlO\ 1111)   N1PR   I   ,S10\ INO   (III   F}1ANRS IILARIN(
     Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 26 of 64




18. United States Consitution
Amendment IV. Search and Seizure
The right of the people to be secure in their persons, houses, papers. and effects, against unreasonable
searches and seizures, shall not he violated, and no Warrants shall issue. hut upon probable cause,
supported by Oath or affirmation, and particularly describing the place to be searched, and the
persons or things to he seized. Supreme Court of North Carolina.

 19. 63 NC. 50. 1868 WL 1369 (N.C.)
Supreme Court of North Carolina.
D. L. PARISH, Adm'r. of ALEX. MURPH v. A. M. WILHELM.
June Term, 1868.
An officer having two executions against the plaintiff and his father. and another execution against
the father alone, levied on three horses belonging to the plaintiff. as toe roperty of' the father the
plaintiffoffered to pay off the executions against himself, hut      nffic'r refused to receive the
money. and proceeded to sell the horses: Held, that the    offc   1"   no a trespasser ab initio. and was
liable in an action of trespass, for the value of the two horw.. .Lc .uid.

20, Carney v, State,3 S.W3d 392, 398 (Tex.App..'
                      1


Austin 2000, no pet.).
'Under $38.15, arguing with the officers does not constitute an actionable 'f'frtse Speech is a
statutory defense to the offense charge even if the end result is stalling. Th    pt1le mental
state under the statute is criminal negligence,




                                                      "'                            v   .




           .rs
                          OT1OI   (    PDI.D          >',l;Ok   ,   H ''k'.
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 27 of 64




                                                         '.           1MEDY

    I,     Dismiss the charges, with prejudice and the THE COUNTY OF TAV1S pa's                           fi..         lion of

           the Defendant in Error's records, alleging the crime ol citec             1   FIt.   COUNTY OF        1   KAVIS

          CAUSE NUMBER: CICRI 1200319:

          Granted U                         Denied U

          Explanation



    2     Provide to the Defendant an Suppression or Franks Hearing associated with THE COUNTY OF

          TRAVIS CAUSE NUMBER: C 1CR 11200319;

          Granted U                        Denied U

        Explanation_________

Respectfully Submitted,



Signature Michael Haendel                                                            Fcrirs       2lth,   2012
P.(). Box300952
Austin, Texas 7S703




                       TRJV1




                               \JO1JDN FOJ coein f'fl)V1DI1)   'I   IR."iO   O   F.irRIu
            Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 28 of 64




                                            VI.             CERTIFICATE OF SERVICE

On the 21th day, in the month of February. in the year of                                 12,     1   swear, affirm and certify that a complete

copy of the this document was served to, the court docket by the Clerk of Courts or her subordinates, the

THE COUNTY OF TRAVIS, at the following address: 1000 Guadalupe Street, Austic, Travis County,
                              8
lexas. or directly into the         THE TRAVIS COURT A'! LAW, 509 West Eleventh S ...... and

additionai1 'wear, affirm and certify that on this same date. a complete copy of iii                                       .' Liv   ement was hand

delivered   10   opposing THE COUNTY OF TRAVIS PROSECUTOR, or to 314 Eles'ntt                                                        reet, Room

300, Austin Texas.
                                             /
                 .,    /
 :ana1ur Michael Haendel                                                                              Rue,   I   eoru,e   21 th. 21)1.:
P.O. Bx 300952,
Austin, Texas 78703




                                  MOFION   1OI1 (01   (4   PI07   (((LU "4 ('RI ""IQ'   ',\i(   OR FRANKS 1(EAI(!N',
     Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 29 of 64




'-
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 30 of 64


                                                                                                                        CRi1'fl          NM, N"!U)AViT




IN FRAVIS COt                           N[Y           I   EXAS CUE RI IN AND FOR                                                                              liii: SiA ft                                            OF                  1F'\.0                                 (         01 NI V                                        )I            I           l
                                                                                                                                                                                                                                                                                                                                                                             \\y IS


                        II IF. S A FE 01 TI NAS TRAVIS COt 'N1'Y CAUSI. Nt \1131:R. C                                                                                                                                                                                        I         ('R II                              2(10)11)


                                                                                                                      April 23rd, 2012

 III!. SI AL F OFTI'IXAS                                                                                                                             §                                                    IN              III! RAVIS (01            I                                                                      \1Y ( 1)1. Ri
    Plain/i/f                                                                                                                                        §                                                    'VI             I  \W 8
                                                                                                                                                     §



                                                                                                                                                     §
 \.IICIIIC1:        I   IacndeI                                                                                                                                                                           Af    ISi'IN,
       i))ie',,efa,i/               /fl     ri'o;'                                                                                                                                                        'I   RAVIS ('( )t N                                                              I   V.              II          N

                                                                                                   CRIMINAL.\ l"J'II)AVIT

                                  IX 1111; NAMI' ANI) flY                                                    filE AU iIR)RII'Y OF 1III.SI \l'LOI                                                                                                                                               I




 1. \lclato'i i:endei. alliant ;uid crime victim, hereb\ rateR
                          I                                                                                                                                                                                               .   .                )I'I'I Ni)A\                                                I   ,           undet                    I
                                                                                                                                                                                                                                                                                                                                                                        nalt               at
 Pcrlw?5. has .aod reason to believe and d cs heIk'  that th ..                                                                                                                                                   1           lie

                                                                    '!IIi.SI'Ali 01' TIN \SIRA\'lSot.'Ni                                                                                                                                       AIlORNi:.
 hat. comaittied (an) oltansci si aiiaiiist ilk' lots). statute(s). code(s)                                                                                                                                               of              fIllS Si \ Ii                                                .




               I)istribuiiui', medical files ftoin unkno\\ a I RAVIS ('( )I N IV Al IURNI V. Iao c ci the lU Fe hI
                 toocculor is iii FilL STAll. 01               IXAS 'I RAVIS ((lEN I              VI IURNl           RI sNI III      1


               I  R'v IN.    to ('0. 'Icc Baird, or ,\manda iarreil\, or their titanic aS iliottiher or meiiihci s .1 li

               pttbhe, herd       roe onced as Pt 131 l( . , on or before 1:1)0 pti ('S      April       , 2(11                                                                                                                                I                                       I



      ).       I)tsiril'utiou ol no lical flies occurred 13I'F'ORL any agreenieni had been rearhrd \\ tb Pt UI It
               to represent h)I'.FLNDANT.
      ).       1)1 -I NDAN I '\ti5 provided ucdieai deurnent'. front (hark's I3aird at 019                       ott         aiR                                                                                                                                                                                            4



               111)1), \ustin. I ravis ('clinic. I CNIt'.. 'priI
                                                                 7)!
                                                                     21)12, :tptro\iIlt:ttd1\ at or neat      10) put                          I


               i)t:.tributioii of rnedol file'. occuc red \U I 101'               \\ritten or oral           PPRO\ sI          U.                                                                    1


                hI 'INDAX I. as DF11:NDAN'I believes is               conicadictoi      to  tI   fill   SI   Ml       f                                                                                                                                                                                                                                                  :




                        RNMLN CODI 552.229, ('01W 01' Il'I)LRAI RI.(
                              I                           I                                     '. It )h'.S lbI      0'                                                                                               .                                        i .            I


                   chOre § 16) 512. ('ODE OF FEDERAL RI '(1t            LA   IONS 45 ('FR             1)2.  an     otti  lao ( .0                                                                I                                                                       I




               statute(s), code(s) not knock n to )EFENDAN I at the lime of' the crc:tt ion of this .... itt,.    I


               corn Ia cit.         i




               .1             (1)1)1' 0!              ........ At ):Io'                          5th                  II'S 45                       Pub!!.                     'ke!;t                          0151'                       I                   a!                dl,.ot                                    I.'                 .


                                    11rjiiun.             1         'ii,'FiLiiIl\         1..    I: .......   .       ''I'S.             I'.       101 tOil                i                 .                   da           t            0.0101110.                             0.
                                                          1,1           It....('IVi               :1.1            .01:'          1ii''iiil,llll)fl                  1:'            :1.0.             .:i:,            onto::                    11111)00.                    11       .1                               '..'!.                                                              '0
                               .'il,tIi(0)l'.         0 i.:liii0St0.V 'ill) 111101.2 ......... 01111)                                                                 II                Ii               '1      0.       .0.0: ... OIL)))                                   t'...Oftl.O.:                             0,..
                              ,1.   '0:    .,,I       1   'HI.:'        V.   I,      :4.11        0      jo   .....              .
                                                                                                                                     ':101!          00)0                      1).:          V           111,0                     ills            .1    (0                       :
                                                                                                                                                                                                                                                                                                   I   ....        .
                                                                                                                                                                                                                                                                                                                                .                                            .
                                                                                                                                                                                                                                                                                                                                                                                           5:

                              1(01,14      (10    .1)         0                  lolL   tIlL    )e()0ltlll2                     :0w                 II        s'       11           ,)uiI'                            ::IhoI                   10         1,                          11100                                                                                  I.



                                                                                                                                                                                                                                                        .1 ''.
                                                                                                                       'I                                                                                                                                            I




                                          'opt .au             II            '   :       H      4 lIlli 0.:ts.       I,     1                        Ii             flh1!               '100 011)1 an)                            .1      Ii:                                                  jeoii                   I        eq ...                  ,

                              oau' order          I   I       Ill                oIl    10(01(111     0. LllhjNlLll,l 11
                                                                                                              1                                      .1111111111 I))                    IS)IIL'(l 1)5             11          (((IlL!              :1   (.1   IV .1               1111         .           '1,11(1!                 101    .:l.'i:'                          .        'I




                              \lI ,I1IIi)1fl1',LtsIllVC             I   ,,l0.i        llILtlldItlE)   UiIl    21d011111s1!atIvu H)lhp:10lIi1 ('I 01111(10111,.!                                                                           LII''          s'. .111.101 no                                       2 lfl\ 0.                  ':o\                  .       0.   :'nd
                              ',lrnitar p01)000. ailt   i/O,! under ta\\. piovtdd 111,11 (1) the ln!:rmlItI))I1 '1010111 i: :1.''. III) 1)111) i!I111(IVlI 1:'      i. 'S II:: 1)1. II                                                                                                                                                         .1


                                nlorcement iflhltilts, (2! the 0041100 is IpeLilO md I, ' ' do! ope II' 11(0 eO,I'.'flt io',V iI'!, 0 0.IL,1l)t0 II) 1:1:111 ui III ')Vlt)Sl'.L
                              to which the i!110011101101! I', SL)tiPht, rind De'idni.                            (;
                                                                                                 111101 111,1111(11 001112 lIlt ro1,'!::11'1\     ed (2 'eriIIll.:, 11.0,                                                                                                             ''n                                   I                               1                     1




                                         ii:)  0,11 'I :r I    ill icalioti 5iitlt 11101111 1 po
                                                                         ,                             SLOp1 lot 1t!',et101I (''i.H           1. III' a' pe) 11)11 d Ot 1IilLl (11)2
                                                                                                                                                                               I                                                                                     '   '




                                                                                                                       C        I1!\lI\.li                I   ('I     \\           II
         Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 31 of 64


                                                                                                                                                                   CRII'iTtiIsL                         'IOCVIF                                                                                                                                                                                                                 ..                           I




                               I) of this St'elin.                                                                               e;tt\         mat dicio'.c roieeed icitit;' niouiiaiion in ri. p011CC ti ii 10 Cniorech

                                                                      lit
                           i                                                                       oveis'd                                                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                                                                                                                                                                                        5




                        chuL'si      br such iniiin;its'ii                                                          1    r the             plirpIC.'' denlith;: or 1eaia;      Cuspeet iut5itivc. maid ;ai si ito.                                        II



                       pox dcii thai ii                                                            c; SCi               C;           'C    iliaC di'C    01111 C ,ih\   5   fl  'talon '.j .:tca. ad ;s';i.
                                                                                                                                                                                ',.                                It tao will           fl''                  5i                                                                                                                                                           .           .;

                       birth, it      I    'si.i,ii                   .,'c;iiti; ii;st;hcr ii))                                                 \ii() hiiiiii                             '.1'.,'       sm                II       la_I.;;                .:            kni' oi              I;:.'.                          .                                       ;;;s.                         ;;.


                       ijate      mci tune                ;ii d'::;tli.                                  sjii;.hh:                         and                 ii           S    di.xci        pu           :;
                                                                                                                                                                                                                   '5!;:                     n            ;i;;               ;ti   \S                                                                                                  S




                                                                                                                                                                                                                          'i
                                                                                               1
                                                                                                                                                      t



                                      dcc. tan .;;id                                               ...        :s5'F                  pls'teno.i ill absence ill !.r.                                                                     '   .;      :oad                    or    nis;i',I;i,:he;                                       .;;                                                            ;;.


                       Ci   isnited to palarti rh iii       if ihi' 'eLtiillt dir cii 101,1 ''iiist'C 1, is nt (iiCeiiiCl iiir the iWis '''CC
                                                                                                             Si                                                                                                                                                                                                                                         .. is        fIll             S,;lit;; o; locus;
                       iuiidei paragiaph i i'it2 ni do.. sects ;n anx piuliccied lo':tI;hi iriturnt;ul 15511 'hit; d iii the uudi\ ;;i;cii''s iNN                                                                                                     1                                                                                             5    0'          i       IN       S ,iiIdi\ Cl.                                     P
                       iecuird iii ispinin. xfinhlicx    :nal os ni hod5 fluOtor                             5.''




         it            ('1)11 01 kId)! RAI. 101 ill A lIONS 1C (I R i(t4.50                       so. and discis;xiires sit pr ic.         iicNiii itiiitinciit;uii acitc;al ISiS                                ..                                                                                             ci
                       In) I he dock' ate is in 113) An attol nes ieia;ned bs Oi On licitail cii the onuS iojee to.; :i:ci                 '.;CII1CCC ;;5555; sit.   si the p;;;                                                                                                                                        .;



                       oi deteri; Ii;;'           lea! opt; ;o ill the oori: iurac nieniber
                                                                       '                               h;s;ue'e, aCClueu;ic ix;ih re';iiui I;; iN. ; i;;;iI;u. I I              lx,                                        'Si                                                                                                                                                                                                                       I


                       plu'alrtillh I            I  lbs seetuti .1;
                                                      I           ;    cli''.it'':. or ini1 I;.;,.' ;r;el,ihs';C stii; aic .ictIin sri a mIllie S .;;; :u.rt i.;;ilts
                                                                                                                                           I


                       clInCidried to his C violated the        ]C; mile;          tills siubpsrt   a nuenticu 01            soui iii ce nil;; IC ti;1 s ;ct;;t; 'it    sr urn;     as                                                                                      Ii                                                                                                                      I                                       ;l


                       discloses pro            U hetith slur       Sn            55   e; lorcenieni ol'I) i;;l  si';i sled thai 1    5'   hi. 0itss Is
                                                                                                                                                      ,5      l    dli                                                                                                                                                                                                   I


                       sic5 hoed s ais;sirt the 'urspc.tucil l'1.i'Si:       'i the 'intiui;al st ,;n;iH           ;;i tcs,teil o'5;iti; ;;I no.11;    '   N.J                                                                                            I    ii,.                                                                                          1
                                                                                                                                                                                                                                                                                                                                                                                                    ;
                                                                                                                                                                                                                                                                                                                                                                                                                            ;


                       the iI;iol'ill,ti; Its iistd     Ii N.    ii              N 'SN.
                                                                                     ;i;                          I   t;i.; risO sC's    I' -     ,


                                                                                                                                                       ;
                                                                                                                                                               '
                                                                                                                                                                                                             )s,                   55                           ,'                                                  I




                       H       \'iNiii,ii                         H        \Ni)N,\iI iY(iti)i                                                              See              nidOiJ                      I        \(iiAN.;i                                Oh            iNii)ih\i\hi(uC
                       Sit     iiflCliC\II) '\t) 5iIteiiiC\ CIII!! il.;;'.: SClUhilidiiiflui uhi;;i itidli ''5; _;._certtcd u;i discioseci nisi; 1110 ......J5,uil pI dii
                                           slisiii                                                                                                                             0   C                                                                                                                                                                                                                                   Iii's


                   ill nl;uint;Lili              ii
                                      [hi,' esliani pio-ihie. Iii',' c.uli i.Ie:iailiir iii that ';i; 11155;, tiC)             \ perot eslini,iiis          ,:lcusc ii the 5551511                                                                                                                                                                           s
                                                                                                                                                                                                                                                                                                                                                                                                                                i




                    rcieaw or dis'io'sc eitthdelitiiiI mlitiiuiiii             olulrnii'ui silk liii-. ,x,ii'jfl bitt pipo'scC oihei ii,iui
                                                                               -.                                                                          :tfiuiii;ui\ iii sUC find
                                                                                                                                                               urui's                                                                                                                                                                                            .




                    'er. ice'; dXccpi 0 ;iilioi i-cd to other lao it N the 'to.-nt Ol tli pc'o.;n ii; xi iioiii ii. fifiituii;iiJo;i CiHes SIi ui iso's. u;ii;li.t                                                                                                                                                                                  I




                   lhi subsection ix d ('[ 5 H uiiisdemcanuir,

                   I     t)Vl RN\llH\                         1        ('01)1                                liii            I        5        (11>!           N        (1 i\'i'RNvIl NI                                                 I       I   HR'S 511311111                                             I                l'k; )(IIi                                                    1              5                         1


                       \((lSS till N(iOV1RNMI.Ni i ilAIhiRSSd                                                                                                                             Ph        illi('hNliikM'hioNNt iii HO Ilk                                                                                                            510       N. PSI                                °k\,s,1)',
                       bee SS,1d2H                              'sAl iNldUR\l\l'i(tNl Ni)tk
                                                           t'ONbiNi                                               illitlil
                                                                                                                        Si kit          I                          ;;       ,;                                                                                Sir                                         iii
                                                                                                                                                                                                                                                                                                           :;
                                                                                                                                                                                                                                                                                                                                           Oliss                                                                       I        a;
                   t,iea'sc                    'sseptcd horn dix,iir'sin.' is; 115 'miii,;
                                    iii iiilu;iui ,llii;ii                            S                  di ..'.      .0;' I,, ;                             5         'Ci.                                                l'''                                                                                                                                      '.
                               tb7 must ire ;il 's\otnt ' iii si)iiOt ; '. ii Cite; ii;. '.-;           .5                    nh             ;ej;        ;;. .'.            5.:                                                                                         .                                  ''s                                 s
                                                                                                                                                                                                                                                                                                                                                                                  I                                   a             '        Cs

                   wtdet iS 5105 5'1 fits' lull cilitseuti otis, u.s,a.c :iu;t.          si; sc..'.           .     ......       0       I:       ;l Ii;; .'            ;                                                                                                                   ''s
                   s;i the mdii Ji;       piieuu in "uaiuivai; si rn md; huN Ir IS'                             .i.S'iC.,n'I'.:             5       5 C. 51; '.0 5.                                                                                                 .                                 5     ...                      '                                                     '                      .        is                .;,
                   ireronal thus's ii Sn Vil'iouil ii] nulornefl nI i;t ,i h;t-. ice;, -ct                 :, 5,;'.        'ni ii' li;e I eRa s                ;;i;'ttsh;i ..                                                       .:''.                                                                                                                                                                         5;       ;''c' II;;
                   sc'c'iion outs 15 the is 0100 auihoniaiuoii ol 'uje dcsiaiiit Si           'sCii ili,u; iii diii: ''       iii hti.tii                                                                   Ii's

         I)EFENDAN1                                                                                                                        BE,ACKWEI.15-Tl IERMAN
                                                                                                                                                                                                                                                                                                                                                                                                            15
5.                                                                    as arrested at                                                                                                                                                                                          13U11                   i)ING 509 West                                                                           11                      Sired.
         Austin. 'Fravis ('ount, 'Fexas. Jttliir                                                                                                                        5,            2011
Ii       I)I-FFNL)AN                        I'            obtained                                                Sccut'it                            C        heckpoitt[                                        Video                               Rds,(iIdinL                              i
                                                                                                                                                                                                                                                                                                      eiuet'                     tied              .Jtiniisiix                                                              ';(i
                                                                                                                                                                                                                                                                                                                                                                                                                                                 I




         5lppro\imatelv 1015am ( SI 0 0 l5ant ('S I, hetebs reit i'enc'cul its \ 11)1 (1 RI (Ii tIN)                                                                                                                                                                                                                                                                                                                                                     i




                           SIAIL 01 11.\AS lR,\VIS(()1 Nh Sill Rh
         lltt'oiiglullte ill!                                              1)11 lii 1)0 \ 1Hl                                                                                                                                                                                                     I




         l0l ICY. LIII SIAIF (>1 II XASGOVIsRN\4irNI ('01)1 aP2 i)2.
          hue Illir SLAFI Oh' tEXAS IRAVIS ('OIJNIY Al lOIsNI         l)ANII      ER \1)i0RI hci'.hs                                                                                                                                                                                                                             I




         iehreticcd as TI II' RAVIS COIN Y A I'I'ORNIsY I)ANhl1 I3RAI)l '00 uthjccft'd lo Ihue
                                                                                'I                                                                                 I                                                                                                                    .                                                               ),


         DI TI N1)AN obtaining vital exculpatory evidence.
                                           1'


8.        I'he TRAVIS COUNTY ATTORNEY DANIEL, BRADI ORI) filed a request to the H !f SI A ii

         OF TEXAS A I'ORNEY GENERA!. OPEN RIT()RI)S DIVISION. hleI'cb) ielehencePas AG
                                                 I'                                                                                                                                                                                                                                                                                                                                                                                                      i




                                                                           5
         -( )RI) February       201   A I),, requcsi tug AC'-ORL) den VIOl            R I-( )Ri )l \( ho                 1                                                                                                                                                                                                                 ( )                                1


         L)l-i-'ENI)AN                     I.

9,       I    he   AGT-( )R[) granted copy of VIDEO RFCOR 1)1 NC o°'                                                                                                                                                                                                    ided to                       1)1 II                         N DAN ilium                                                         the 1111
         SIAII'Ol' ILiXAS TRAVIS                                                                                                     CO           MY SIILRLI                                                          I            011-1(1.
I   I)   I    RAy IS CO                          MY                                 i\'I'                I        ORNI2Y                          KI NNI-                                   HI IRVIN has                                                                    stated                I       ebrtliirv 2)                                                       21)1              2                  \ I)

         DITI'NDAN                         I              has ViC\\ed VII)I                                                                      ()                RECORDING                                                            at           1111                   SIAI              1,1)1                                  II            XAS                       ('01                   Nh                                      1)1

         I'RAVIS PRI'.    RIAL     IIiARING.  LIE S A II 01' II XAS
                                                          I            RA\'IS ('OlIN    ( '\t 'Si
                                                                                           ,             I                                                          I                               I                          -                                                              I                                                                                   I




         NEJM[3ER: ('-I -CR-I 1-200319. hereby reftrenced as CAUSE NUMI3IsR. occuning ehrtiars                                                                                                                                                                                                                                                                                                          1


         210. 2012 at the TI II' STATE 01'   EXAS COt 'NTY C( )t RI 1VI LAW 8. hereh\ referenced                                                           E


         Cot IRIS




                                                                                                                                                           I        [OilS             i     iii ii,,i5t
                                                                                                                                                                                      I
                Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 32 of 64


                                                                                                                          P1flNA         1Hr1AvI1




            1    \\ hen compared and contrasted to V IDLO REt 'ORI)ING, ith respect to the 111 5 Al OF                                                                                                                                                                     I


                   1-XAS ('0 N'FY OF ] RAVIS INrORMATION, hereby relèrenced as INI( IRMA ION.
                     I                                                                                                                                                                                                                                                                     I


                 CAUSE NUMBER. the JNFORSL TW.V is FRI I.DLILEN11                                             I



        2.       INFORMiI TJOJV is ERA UDULE\i' when compared and contrasted to V I1)LO R1CORE)IN(
                 fur, but deIiniieI                               not limited                   10,      the Ih1Io                 mniy,          observations'

                                        NJ   )AN           never breeL lied ,ni'ud deti                       WI unUJ n                 ti            d

                            I)!!!       NJ   )AN       I   nerer toucher!                 ati   Jill      U       U   I       01    I   I'\\U                 U US 5                   U    Sill         RI                   5       '1        U

                              It    UI        U   It  t           tN 55     tRAVIS 01                             N       U    '   II   kit       I           U    II                            U                        U       U    I                               \
                            (1)1    Nt Y          5tH Rtt         t   DI 'I t U Itt RN '-.'                       5                09         1           U                  II        N \U              U US         Is                   II                  U        U

                             IASIP I UN               'I   tUHI


    13           When compared and contrasted to VIDEO RECORDING.          ih respect to the I I I S I A Ii ( )i
                  FiXAS ('01 NTY OF' TRAVIS ('OMPIAIN'I herch reRirenced as COMI'I AIN't 111:
                 S'IA FE OF 1'I2XAS '1'RAVIS COUN FY CAUSE NUMIIUR: C-I ('R- II 2003! 9 her;
                 referenced as CAL 'SI' NUMBER. the COMPL1JNTis FRAIIDI/LEVT,
    I   I        \ hen compared and contrasted to VIDEO RI ( 'ORI)IN( ' itli s           the     II S    II ( )!                                                                                                          I   1                         I


                  IIXASCOUNIY OF IRAVIS"I'RAViS(OI NI                III RII   1)!    iY IIIO\1\S                                                                                            I


                 ''1605 011  NSI RFPORI ", hereby referenced Os Iii 19
                                                  I                        IN 0111 N"! Fl Ft IR                                                                                    I   'i        I            I   (                                                                                                  1




                       SIA FF01 'IlNAS RAVIS ('OUN I" ('AIJSI NI Mill R ('-I-cR
                     1111                                                          200 ,0. lL1\
                                                                                           1


                 refetenced as ('AUSE NI JM II ER. the DEPUTY El 7'O\ OFFESE REP0R/
                 ERA UDULENT,
    I   5.       When compared and contrasted to VIDEO RI'CORDING, \s Rh respect to the 1111 5 A I U 01                                                                                                                                                                    I


                 TEXAS ('01 N I Y OF 'I'RA'v'IS "TRAVIS ('01 'N FY SI 112k II'!' 1)1 Pt Y Oft lAN It )N I'                                                                                                                                  I


                 ,/15(1$ OFFI',NSI RUPORI". hereb\ referenced as 1)1 FL I       I)ICIAN lO\!() OIl NSI                                                                                                                                                                                     I


                 RIPORI,                      '11112     01" 1FXAS IRAVIS (OLNI
                                                                  SIAlI,                 ( AISI    NI MIII R                                                                                                                                                       (           I   ('RI                          I




                 200)          (1       hemelu referenced as ('Al SI' NI M131 R. the I)EP( 'IF 1)/Cl. \ 'lONJO                                                                                                                    I                                    01'         F/I' \                   Si
                REPORT is FR (ID t 'LEA'T,                   'I


I       6       \\ hen compared and contrasted to V Il)I'O RI( ORI )IN(                                                                                                           ss   tlt           espect                   to IhL                    II!!               I       \           l            (0
                 I'I'XAS ('OIJN'I'Y 01' RAVIS I'RAVIS ('01115 I\ SIll                 I                                                                                                     RI!          1            1)11>1                    I           Ill    RN \N! /                                1!

                ;t 1429 OFI'1 NSI   RI2POR] '', herek telerenced as 1)1 P1                                                                                                                   I       I        III             kN,\ NI )l/                           0111 155!
                REPOR     TI II'. S IA 112 OF EXAS I RAVIS Cot N Y ('Al/SI' NI '51131 'R
                                    I                                                    ('-I -CR II I                                                                       I


                200319. hereby referenced as CAUSE NUMBFR, time DEPUTY IILRNANDEZ OFFEA'SL
                REPORT                       is   FR. 1UD(/LEIVT,
I               When compared mnd contrasted to VIDEO RI ( 'OR 1)1 Nt). \\ (Ii espect ii; the ill! S A Ii (0                                                                                                                                                            I


                 I       I\\S
                          ('0! 'N II 01 RAVIS IRA\ IS COIJN'IY SIll RII F I)IP(IU Ifl\IP ION IOU!
                                                                                  I


                01 II NSII RI'POR'I", hereby referenced as 1)1 PU   1IA'li'I0N OIl 11551 lI PORt II!]                                                               I


                S'I A Ft OF'     I'XAS  RAVIS ('OIJN'IY ('At SI' IN! fMI31R, (
                                                       I                 'I           ('k-I 1-2(1111 ID, F                                                                                                            I                                                                                i    '1



                referenced as CAl/SI', NUMBER. the DEPI'T}' /lt.IIPTOA' Of'I'l/VSL' f?FP?,)Ri
                FRA L'DULENT,
I       X        1'herefUre DEFt NDAN has reason to belies e and does belies e the 1111 5 A Fl oii \ \5
                                                                              1                                                                                                                                                                     1                                  I




                TIlE IRA VIS COUNTY A TTORNEY KEAWETQJLU(J                      A imillcwiis/j' pru,s                                                                                                                                                                                          uti,,,i,'


                DEFENDANT,
19               he ft IF S'1 A II'
                'I                                    ' A   FORNEY Jill IN AS It )\'I 5, ftd< '.Iated
                                                                  (IF TJ              XAS RAVIS  I                            ('O'           7,       1                 I'                                                I




                ill      (
                         Ofeli ('1 )IJR'I'.         VIDEO   RI        US! NI MBIUR siewit
                                                                ORI)IN(                                                                                                      (                           I,


20. I'he   1 ire 1)1 TI'NDAN'I' has reason to believe amid does belies e the 1111' 5 5 II 1)1 11 N 55                                                                                                                                           1




    TIlE IRA t'JS ('OUNTY ATTORNEY JO/IA' LASTOVI('A A ,nt,iiciousIt pro%('1',1lilz
    DEFEND/I NT,
21. flie '11th SIA'I 101 TEN \S TRAVIS CU! 11511 51 I'0R7N1 I RICII,\RI) ( 0111', IJU'                                                                                                                                                                                                             I


    in open COt, RI CAl sE Ni, MIII R s ssin. /IDI'O RI ('( )RDI'\(




                                                                                                                  ('RiNU\.;t, 511 11)\\                       II
      Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 33 of 64

                                                                                                                CRIWINkt,             1F            T   DlV T                                                                                                                                                                  a




22. Therefore DEFENDANt has reason to heliee and does believe the tilE TATN 01 I l"XAS
    TIlE TRA VJS COUNTY ATTORNEY RICIIARI) COPER is ,ualwwusk prosecutug
      DEFENDANT.
23. DF.l'ENDAN'i has filed into CAUSF           NUMBER "CRIMiNAl. COMPLAINI            RAVIS                                                                                                                                                                                                     :




      COUNTY ShERIFF DEPUTY THOMAS EATON 3 3605"
24    Dl FE NDAN I has hkd into (AUSI NUMI3LR (RIMINAI (OMP1 AIN I                     R 'v IS                                                                                                                                                                                                                   I


      COUNTY ShERIFF DEPUTY l)IGIANTONIO 3 1508"
25    THE TRAVIS COUNTY ATTORNEY KENNEI'JI ER VIN is skidding from prosecution
       FR a\ViS COUNTY SI IERIF1 Dl Pt. TTY TI lOM'\S I AEON S 3605".
26.   TUE TRAVIS COUNTY ATTORNEY KEVNETIJ ERVIJV is shielding from prosecution
      TRAVIS COUNTY SUERIFF DEPUTY IMGIANTONI() # 1508",
27    THE TRAVIS COUNTY ATTORNEY JOHN L/1STO 1(11 is shielding 1mm prosecution
       FRAVIS COUNTY SI IERIFF DEPUTY II LOMAS EAt )N 0 3605".
28    TILE TRAVIS COUNTY ATTORNEY JOhN LASTOVI('4 is shiekIimn, from prosecuhion
      'I RAVIS COON FY SI 1R     F DEPt. Il'Y DIGIANTONI() II 508.                I



29    11115 TRAVIS COUNTY .ITTORNEY RIChARD COFER is shielding frau prosecuhomi
       l'RAVIS ('01 )NTY SHEKII;l: DE'PI LV 'I HOMAS LA I'ON      3605',                                    I                                                                                  if



30.   TUE TRAVIS COUNTY ATTORNEY RJ1IARD COFER is shielding from prosecution
      TRAVIS ('OtJN'l'Y SHI:RII'I 1)[PU Y DIGIAN'I'ONI() ii I 508"                                               I


31    I)FFENDANT believes and does believe 'FIlE 'I RAVIS ((>1 N'l'Y Al 1 )RNl' \ K] .NM ill                                                                                                                                                     (


      ERVIN, it IL I RAVIS COUNtY A ORNEY JOhN LASTOVI('A, and III                     K \\. IS                        I     I                                                                                                                                                                                   I



         OUN'I'Y A'I"l'ORNEY Rid IARI) COFER has at least violated I'EXAS PENAl ('( )l)l Sec.
       15.02. CRIMINAL CONSPIRACY,           'I'I'.XAS PENAl  COOl Sec. 39.02      BtISE OF
      OFFICIAL CAPACITY, TEXAS PENAL CODE                 See 39.03.  OFFICI l. OPPRESSION,
       tEXAS PENAL CODE Sec. 39 06. MISUSE OF OFFICIAL INFORMATION.
      ii       SI1XAS PDX                  \'
                                  1211)1 Se,       S 02 CRIMINAl, ('H\SI'IISA('S          pit A ,rsor,        .nai ,riini:il oo:irs                                                                                                         .,       it

              c,nr,,,,,lleiI.1 lie 'fees o,rIIi 0110 111 lore prs,nio lieu II.,
                                       1                                            0110 'I:.:,     .'l-.:,   l'l",      eon,liici
                                                                                                                                 II                                                                  Ill                     1   .:'    ..                                                       '110'.:-            .    .




                 in 11110 III 1:10 iii Iherri perl:mns     :irl .01 ro        'i.-'
                                                                                  illlh-'       s. :"      \I   "r''uli'rii Cr;): 11111)1
                                                                                                                ii:   r:.             'I                .,-':..'.               .                                                      1;                             ilLS                 :1:-.                I.       10

                     'I I prIr.s let the ::ilerise a ii CI. ......S: ui-il',.

                    '.5" Oi,NAI,                 ('111)1         Sec   .151)2         /2131)5)   III        ''1 II,         1.51,          '.           'i      12         ,i   A r:nIilii. ..... :,'                ..on,iirl'        on ,;iIolrse:)                              ,iiih                ira
              h_-i_-lit        .     1,11)1     lInen)     iii   Soon        or doir:rud     n:,Iho              in   uI:io;uli:'ii_:lS.                 in    ,::lLln:'l\                 lint,      i,''              in   re)otnli:           ii-                      lnilll                        ir',ui           '5


              CHill!. 5010111'



      C.      I!    RASPI NAt                Cl lIthe.' '19''           1)150 IAI_I'l.'t'i '515 (II A :i.I,hc . 'i                                   ,,,tereol:r, ':1 1;: :5:             '''run                                                                      '    :           H               'ill:'' .00:0,11'

              :10111W          ii   lie 9l'i:._'.:: rio_li: ord:irielo ,j,. hoc               io'.!o'r:::lclrl ri lo ,,I_1,,:.i..:, .-::         iii,   no.srL,l;,1.o:r:'r          '.1    :                                                                                   :                 ii    '.1      'I



                                                                                                                                                                    ......
                                                                                                                                                                                                                                                                                   ,




               ii.-.'.,       ... rlrlhrIolIuI(21    u:Ieriii:::r.IIis ,.,_I;', ...... ::n:.e.:C.,i:,tnCI'Ili!,:.:..,              .:,..:iiiti:l::lar:o lii')): tori:l                                                                                        :   '                .'r;                     -.'.:in           H
                                       1 rinlasi 'nI.    51      .rrr:il..,, .1111 .......01.11,0 pnl:Ii.' :11 :11                 '11101 CHIO :1!          uliii  :11_llllO:i
                                                                                                                                                                       '
                                                                                                                                                                           .                                 1111.                                                             :           I:.'



              net       in   ii.  ,-Iticr,rl npnells or IrS, ,.ilil .ini..:.' ..... ri .,,-':.:rl in' priqior' ....... ,.:, ic ll An :11 nso mdei il,i', '.,oli:::t I, ri
                                                                                                       Ii                                                                                                                                                                      '       ,             i:.-     IOn),      :rr:::r


      ci       '151:5 PI:N.'\! ((11)1- Se,                              5115151 III (ii III tAt l,S!lill.51Al11)N .,ii /2 inhIre olHli:i ,:.il 1,110:' iSP- .... ii,
                                                                        19 in,                                                                                                                                                                                                                                 :i,
                                       Ii: os)ncl: lie       lets 00001.5       at 'Its 1)ll]Le I'! (lop1:': lOon) nail Itoh Sos I:;,) larer: ,rinlo n:l:lio lie Ni
                                                                                [:5 111110                                                                                     iiiL; ........ I'll, ill! iiIi IS
                            i)Hsillr :il1011l 1:1:: lui:nn :i 1,1.10:111 ill isuli :inci:I to Ii,nni or :lel)'niiit :i ''lie:, )::':li., [:10.01 rOeS 1110,1111,1)0.1;          i". '. .1,'! III:! 0 ti                                                   .




                   ii    p lie irs loll .' Ii: liv             IS   ' :15 nitIce l 011151 oilier,) Oil -.          -.' ...-; Cii 1:11 10111111 IL) A 9erO'liL':'101H'l, tir'v!leii I rP
                        liii  ii I--,i,elrt ,:10l1lIIl110111101,,::llliil tlelra,id .:i::.Ilrei he sot,.!:.: ........... ::Shic 'allan) :,r),:,,rr 1:111,0,11 iii:' p:lStr'no.'

                          ii: 0 ino,ri,o'iI In.                  el:.'
                                                             .. ,'r'.:I'i,lIIlier'i :5),       :1,1',,'        '.1-1 0)10 loll '.1              '11015 "iiii:iiili,nl, :,i lii
                                                                                                                                                .   ,                                           -   .....
                                                                                                                                                                                      li't .' .':. 1; ... to 1.0)010'                                             Ill:
                              trio lilt5! nan-rn 10 101:0.               I    lIe 5h1)iW IhIC,.    n   .1                 ii'.: ..,.:.,I,,.i ,,.11 lStui.ri:iI ..... I 1,1110 1lIsCl:lSlIlc 111111*1 1.. !1,ipkl
                                                                                                                :'-,'!ILi.IIiS                                                                                            II:lnCI)                                                                          ''0,'),
                    0        101                     f()     .1.95. Srr','.e,'trtr hi                       ,5r,:,'urr,i,'r Or.: .,.'ui 'u, ii': a lNlnrr II lii, ,nir'iI ,ier:ree 11) \i: tIlt 1100 11011:1 .S,uh,,ni,,:n
                                    c:rar,., I0r1100r1(il',


32. When compared and contrasted to VIDEO RECORDING, with respect                                                                                                                                                                      ttn       tlfe'iilI                                             S      rk'I            I' 01-
       tEXAS COUN'FY OF l'R/\VIS "AFFIDAVFI' FOR WARRAN'I 01: :\RRI.S ANI)                                                                                                                                                                                                                                       I


      t)F'l'ENTION", hereby referenced as AFFIDAVIT, 'II its S'FATE 0l       .\AS I'RAVIS                                                                                                                                                                         I



      ('OUNTY CAUSE NUMBER: C-i-CR-I 1-200319, hereby referenced    as ('At.  ISI NI MBLI<,                                                                                                                                                                                                  ,



          AFFJI)A VIT FOR W'IRRANT OFARRESJ':l NI) DETENTiON is FRAUDULENT,
      tl'ie




                                                                                                            3    4I'.II\%I            II ISu.'.\
       Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 34 of 64


                                                                                                              CRIHINAL Ab'IDAVIT




 33.    If the IHE STATE OF]1'.XAS 403 DISTRiCT MAGIS RA F!' BRENDA KFNNI1)Y found                                                                                 I


        probable cause to arrest DEFI'NDANT based upon 1IFE!D/1 [01T I'OR W IRK lAiD!
    ARREST AND DETENTION is ERA L7DULENT,
34. ['he time the DEFFNDAI\ F was arrested, booked. and as in custod\ of I Ill Ii            ( )l                                                                                                                                                I                        I


    '1 IXAS TRAVIS ('Ot IN I Y ( 'FN1 RAE [300KIN(i o,cni cd BlFORI         the Ill! S I A I (ii                                                                                                                                                                      I


        \AS 403 DIS I B IC I MAG1S RA TI BR! ,NDA El NNl 1)Y found probahle canoe ha ed
        I   I                                                                                     1


          "AI"I'IDAVI I (JR Vv ARRAN I OF ARRF,S I N[) 1)11 1N ION".
                                                    I                                                                                                                             I


35. 1)LFENDAN     I believes and does believe the FIlE S TA II' 01' F1'.XAS 403 DIS'FRi('                                                                                                                                                                                              I



    MAGISTRATE J3RFINDA KENNEDY violated 18.                  exas Code of Crinnnal Procedure                                                             I


    Article 15,17, Duties Of Arresting Officer And Magistrate, 2.  Texas ('ode of' Criminal
        Procedure Article 1601 . Examining 'Irial,

                 tc\ill          off 110111101 Pr1101.(lUrC - \rliuie 13 I" l)titieo III \rlestinia ()ffleei Nod
                                  030                                                                                                      Ii                                \.
                 Lii      5   1  DI 115(11 \RRI NlI'Di(tff DIR 'N')                                   StRoll ni .lielLII0niniCLii.:.l dii                                0                                                 .1



                niiihinn ho liii. iii tIii p0000u aivin 011011.1(10 'iii                              (010.1 011111 lIlt lilt 1111'LLi
                                                                                                                            .       Ii        ,l1\ ILL .. 1)111 01:1 Id   II   tO ii                                                                     :11


                 iftei the puoiin lo ,lTioslO tiL                e pOlo:!: :I 1CI1
                                                                               f1           have Iiini 101,, 001.1 ',siIlIe Iliani ,fi 1k .1 0.   1            o.;. III Ill It
                                                                                                                                                                       1.            .0)                          .                                               1'      ..



                11111 irr01ed 01      II   pOlIle 0llit'                               p..i!-''i
                                                                                 0. iho peion
                                                                                                               .:.    01(01, oh'     i.:e.t
                                                                                                                                          Iiit III 'III. Iii: iu 1011
                                                                                                                                                              II



                lii 0110 iithier  0  lilt'. I'! Itto 'OIL,.      110  jIlO'iL1i 1'cI':fl 111,1'. 00 1,lboll                                   Lottie
                                                                                                                            lila nItrIte ii poioiin         tOo iifl,o :0 tIlL 111(0.11.11
                     100 nba ho' pro u             '    ' ii             no to lie 10 of au eleciuiiiu               '.t.. ii o ot0'Ill I to nil''i',trale 03atI rf,imu in foal
                language fOe pei 'ii             .   toil.    Ii    in pe o'rioJ thiotiph the eteoliun                ..::ioou,l ,n ototit of thu to oiloIutllill 10111.0 huh iiiii                                                                                                    .1



                into affidavit fib-i hoico tO.               hi 110111 tO relain :'uiioef. of lii'. nil to 101:10 oibent. of Ins ru'tlut to h'uoe an 1110100 p1(00111
                                                                          1




                itiirtni' alul inlet yin. 111111           le :111001
                                                             1             1 :titoriiu 0'. lepleaelittii.   Ii: 'tate ui ho rtnhit tui icruillllatu itlu lilter'. loll it an' hub'
                                   riuofiifohaocuie,:iiiiiiuiiiu-tiiaf,

       lb       leao      (do oi(uiiiuunab briloif ito' -                                   \itiebe   Intl         I   '.antinin'        I


                Ail tO (It              f2   1Sf 11)21   iOiij        f       \A\IININ'                   I   ILl LI    LOhurn      ho'      ii   'dO.'                toi                 .                 ni''-0                 ..lL   III   .111     :'                  111,1'

                nyu ff011         01110'!      Di'uII pril,.'uf       i0000iioli,.     of tliu:u.i.-: 'suiu:.iiL it Oil- I'.
                                                                                                  ii-'        tO   111111                             \'i      Of'        lii.                 .1.                II        I                                     I           I




                 Ouoo,liu Li:uuiloot Iii,, ''':'.     ..uso               0 ui:Ii.u. t(ifuiiui .........     oil.    Ii ii ii                       1:0 no' Ii:
                                                                                                  '."
                                                                                    III:.    ii                                     .11    0                                          ii


                ..OliipCllIlio'uf .0. llthIei.io ii..-'         ii ...... ied   tile IlotlS.1lY: ill Oio,,I\ ,..l'.i' otit 0110 lii :. I'        II    11111 III. I: iii     I




                 iiiotietitieill II tt OIILIIII. LIII 1110 Ui. Ii i'll III (lie ,iff'ilo 'Olio'Ili'! li' he Iii 010.01110 ill 111 hut Ii LI: Ii 1100 IlL' flildlollil                                                                                                                  LI


                ifi' lieu III? obiofi ulefeiuitiiie if itIll(itlflt 01 aiiffieieito ut hiuil. if i bitililhlo 0,11:0' II tOO II 011003 liii ''1.1 II LiflLiL'1 VII I
                                                                  1                                                                                                      111111011                                                                            I


                piOleetItlOn ttffei ii hearm;' iiiiitcr Seetion II (12. f-lImit) (ode. the 10011, d 1110 he i'ruttl'1I an )iililulI!e 111111 ut flue nfheuo0 II
                the court.
36. Fehruar\ 21°, 2012  AD. the II IF STA FE OF TEXAS I'RAVIS ('OtiN I V MA(iIS K lI                                                                                                                                                                          I


       ('.\RIOS I3ARRERA. hereby referenced as 'l'RAVIS ('OUN I V MAGIS ERA!! It \RRI RI,,
       scheduled CAt ISE NI JMRI R l'RIAI. April 2$i, 2012 Al).
37      I)uliln3 ('AIJSI    NUMBER 'I RIAI , DIiI'l.NDAN          lssi',Iance ft ooitits1 RI( \R1)( I                                                 I


        1101)13101 1/ objected b reason ol' preo tonsl sIuuih!-.'d i.:uRfI l'epfcsetltdtitutu      itIt   it Ills                                                                                                               I     I


       Jut lug Apt il 251. 2012 A,I ),.
3$.     I he   RAVIS ('( )I 1N I V MAGIS I BA II I3ARRERA refused to reocli dult' ( At ut NI yi 131 B
                  I



          RIA from date of April
                      I
                                   750, 2012 AD.
        I


39.     l'he 'IRAVIS COUNTY MAGISTRATE BARRERA by refuslnt3 to reschduk' CAt SI
       NUMBER 'I RIAL, has inteutionalk-, for aloix- described objection and kitovu ledge asi denied                                                                                                                                         i




       I)EFENDANT access to adequate LEGAL COUNSEL,
It).   DEFI3NDAN'I' has filed two "(2°) MO! ION COMPI I PROI)t It.' I l( )N EX( I I VA OR\                                                                                                                                                                            I


       I- VII)! NEI" in ('At IS! NUMBI R,
II      \ the ooitttno of this 'CRIMINAl. Al !l)AVI I ''lie RAV 1St bIt NI \ t)RNI Y' f1 IN                    I                                  I                                                           I        1                                  I



       has not produced to the defendant all s ila oxculpatot) e tdt. tee ( )RI)l 'RI I? ho lB \VIs
       ('OtIN FY MAGIS BA II I3ARRI;RA o'Jicre ('At SE NE MHFR RRI k3schcdnlcd!tur \p' ti
                                                    I                                                                                                                             I

       2511. 2012 A.I),
42     A CAUSE NIJMBI1R I'RE l'RIAL 11FA11 [NO was s'IteduIed for January 6°, 7012. a \ear and a
       day from DIiFENDAN'l' arrest under CAUSE NUMBIft,
41.    DEFFNDAN I' timely filed multiple subpoena duces Iccums in preparation for Jarlual y                "012
       ('At SE NUMBER PRJC'FRIAL HEARING,
44     1)1 .I'FNDAN'J believes and does believe that II IE I RAVIS C Ot IN I Y A 'lORNI V EF N NI Ill                                                                                                I


       lIRVIN. '1'1113     RAVIS ('Ot 45 IV A l"I ORNI'.V iOl IN LAS'l OVIC
                                               I                                          and fIll      RA'v IS                                                                                          .                                           I




                                                                                                      (   _   R011S 01.01 I'I000 ii
                                                                                                                   'S           1
      Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 35 of 64

                                                                                                  CRIMISIAL         RFFICRVT




      COUN'iY ATTORNEY RICIIARI) COFIIR have met DURING Tfl F W FEKEN1)
      OF APRIL 20 THRU APRIL 23. 2012. A Fl.W DAVS BEFRORE
      I)EFENDANT TRIAL, APRIL 25", 2012, and d,eussed DEFEN DANT
      CAUSE NUMBER and are acting in coHusion, conspiracy to I)ENY
      DEFENDANT afore anti other not Jistcd rights, and to irotcct and
      shield from prosecution the TIlE STAlE O TEXAS TRAVIS COt NTY SI !ERJF
      1)! P1.       1   V D1GIAN I ONIO                                    I      O8 thc 1                    II!      Si       A     I        1   0!          I \AS RA'v IS )t N
                                                                                                                                                                   I                   I                      C   (          I    'i           SIll       R
      1)1   P1.     1
                        'y     I      A       I   ON         H   ô05           lh                III!          SI     '\   IL 01                         II    \AS R5\ IS (01 NI   I                                             "i            Sill       RH
      1)!   P1.     1         III         RNANDI                 /         149                Ihe       H!!           SI        U         I        01          II      \S R\           I               IS (.1)1.        N    Ui                Sill Eli            I




      l)IP1.        I'\"           1-IANIP1OIS                                  (4)1,                 the          tilE             S1i;\lk                            ()FIEX/\                               tRAVIS                       COUN
      M     \GIS IRA!!          OS \RR[ RI\ H     S All
                                                   JUDO!             (
                                                                      1)151 EtC
                                                                           kl                     '
                                                                                                                                                          ii               I                   (               AS .4(0                                             I




        LlG!STRATE BRENDA KENVED}.
45.   'II IF STATE OF TEXAS TRAVIS COUNTY
                                          ATIORNEY DAVJ1) ESCAM!LLA is supervisor
       Ii IF  TRAVIS COUNTY ATTORNEY Kl'NNFTI-i ERVIN, IHE TRAVIS COl NTY
      ATTORNEY JOhN LASTOVICA, and liii TRAVIS COUNTY A lIORNIIY RICHARI
      COFER.
             iFN (N ( ()DII ANN                     ftxas Siios..iS                                           iicte        5    iYllAWIH AN)              NSINH :A   l's
             Nii citieis shall he iiutiasvesl, iiiir shall ass jo..                                     ii   lie iransp         (el list H the Sice 10 usc lice coni ((cit                                               o        Iii



             I sited St              i.      76 F Siipp SI5 SC) 11) (hi 115176 edeilil Illicit Liltilt l.it;iis;\tlCi l
                                              V    (ii iisiin                                                                                rii6ij
                                      -inerimiiiatlon is iieiiher accorded to the passive n.io.se or iii ii 5
                               ..ii'.i '.e                                                                                  i a o aniarit      ho
             privilcee                                                                                                                                                                     -       1                                   I




             H oils iititisreiit lhcrclo        ii a (FilING clans Its berieflis ciii                :is '!ilS is -., .ini I LiNII)A                      I


                                                                                                                                                                                                                        lists
                                                                 1


             claiiiicI hi      lit-V or si'hc(or Ii is      .iIi1 si-. .'.iii'ii jilsisic          H            P        ci    :1   ii    I:
                                                                                                                                               51\I si is                      I




              (easel. 7tiI    S i() 26 Si         IX   51)     ii. ('il ii;mon'.'.s.fth .                 it it it) Ii            5. iL 1)11151 5.  tic it             -




                                                                                                                                S H..    r dues utocuiiueuul-
              (ui pi               H NI M"l !Ii sic 'ih. ii pcisitdeil I': ii-.
                                      I
                                          I
                                                                                              '.1(5               511115151                         ii                     ii iiiiiiiil                 ill



              allier lien icii..' .i li-i itch stand. simply I.'..o ia' p1 -o C           (Is itlisi ellis_i Ill 11110551 11 (iii. lull test (lii 111511151 5
             s   till      05.'utici', s hi iiahca. corpus
                                II                                                                    11h-                 1




              -ui       l)lliiilid        lisle       ;iid
                             sly (Pulp            ilCCCSsirv Fur cvii to        lii        iniplu Ii   1111   goOd nicti        iii        i-I 1




46.   DI;FENUANT                                   believes and does believe lIE                                                      1        R.-\      \'lS          COUNlY AilURNI V                                                K1iNNL                     III

      LRVJN,  li-IL 1'RAVIS COUNTY ATTORNEY JOHN LASTOVI(A.
                                                                                                                                                                                                                  and        II       IF        TRAVIS
                                                     H              II \ \S                                                                                                                                                                               Rft
          N Y AT! ORNI \ RE. lARD COl R
      C Oh.             I
                                                         SI \ II Dl         )IS  I                                     I                  thu..                                                                                            I          I




      Ar tORN LV ROSEMARY LE1TMBER( are S1FJE[D/-YG 1IW.i I PROSECT/ON                                                                                                                                                                                        il-IL


      Si'AF[ OF TEXAS 403 i)IS'I'RIC'I' MAGISTRATE BREAD. KENNEDY




                                                                                                                                                                                                                                                              C
                                              AGAINST 'IIIE PLACE A Ni) DIGNITY OF                                                                                         11 iF       STA!            F.




                                                                                           Respeettully Submitted,




                                                                         CIV          1?    ;;                CI      V7   -.




                                                                                                         iiii\ILAL!Wi.                     ii
                  Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 36 of 64


                                                                                                                 CRiMINAL




                                                   AFFID..\ IT
        H         01 ILXAS COUNTY 0! iRA\1S, Ut
              SL\ Ii                                             Ri Ml the ui .rhaned autlionts            itH da\
    personail\ appen:d Michael f-laendel, who Swee uI ai lirloed to tell lroi. all stated a           'H

    flUti1Ci \1 clIIH 11ietidel     am 01 sound mmd         ii e:a:ihlc ol niakii:: hk
                                                                   I                       orn St t,i           a                                                                                                                                                                      I



    personal rato ledoc of the Etcis written in this tatet;ui: I under'5tand thn it I lie in this staten int
    he held criminal lv responsible This statement is trtie




                                                                                                                      fl




                                                           Sinatur& M                           h:tai      I    aeiu.tci                                J          ,                  :.:           i..tcs list          Othuc 51ii

                                                                       P.( )        f( )\                      ()(t5                       Austin.                                         I       c.. is          7703,
        S\\ 0111       10   and subscribed                      hcfre          me on the :3rd dm of Arul                                                                                                    ear of 2(1                             h       tintinel I iaendel

                                                                                                                                                                                                                                                       M               RI
                                                                                                                                                                                                                                             'htar)-a1                   j.

                                                                                                                                                                                                                                              M   Corer    t:ifl,Sii[Xpfl'ii


                                            ,'                                                                                                                                                          I
                                                                                                                                                                                                                                                  Mat's
                                   /




                            i.Ii       tiutt"ot u \              l?uhltc SI                     '\    11       01          11            AA                                                                        \ol    ts        PuhIlL St imp              \ho           s

                   /
                                                                                    CER'I                  I   FIC ATI:                                 (H' SFL\                                             ICI'T
    On thu 2 rd day, itt the month of April                                                                    H      he                                                                            1        Al )         I    swear. al1niu                                               Oil           a

    eoiniulete cojs ot the this document was served to,                                                                                   tie                           duieLci h the Ii II S I A I
                                                                                                                                                                       in                                                                                                        \ \S               It
    tRAy IS C0 INFY COURT CLERK or suhordniae                                                                                                                        th   Rshlowttiui a it as     ()i                                              1                   ;iduline         5;.         ant,
    Austin, Iravis Count\. IC\,ts./8?O and addtlionalk                              I                                                                             useir, al'lrni arid natO that in                                                           ri'         /:ln          d,ue              ii

    eotiiplete cop\ ol' tins cIoctittenl was hand delivered                                                                                                       iPItiP    party liv      IF S JAIL,                                                         II        iH',          \S.       1111

     fRAy IS COUNTY A'lJ()RNF Y or sllhordinuitLs at                                                                                                              31                       Eleventh Str                             :1       P00111    30). AnsI no                        I        an
    ('outlt\ 'I exas 78701



                                                                                                                                               F-


                                                                           Sinnatitie \liehaei I h5ieiidel
                                                     P0         flax 3U092. Austin, Texas 78703, April 23rd, 2012                                                                                                                             A I).



        ii"                  Vii   I'       IlISIRI   Si    I             PSi           i            \iSl"iiii        tii((l\                                                   'ii            I            I/il    ii   'ii   SS




                                                                                            S    ,5            %ri                                          'fl
                                                                                                                                                                            I       ,fi'
                                                                                                                                                                                               -                                         1




                                                                                                                           I        ii                                                                       I,          55

                                                                                                                                                                       5/4.                    (        ,
                                                                                                                                                                                                            555
                                                                                                                                                                                    '5'-;
                                                                                                                                               5
    A
              S
                                       f                                       ..                                     5;.,

5-w!               i
                                           '"
                                                 /
    'j'>                               -
                                                                 fi.
                                                                       ''                                                      fl
                                                                                                                                         -5,
                                                                                                                                                   'S

                                                                                                                                                   5
                                                                                                                                                                                                                                                                   S     '       ''
                             -:
                                                                                                                                                                                                                                                                                 I,            0'             .   /
                                                                                5
                                                                                        5                        1   ISifl\               St   Si            Iii iI             I

                                                                                                                                                                                                                                         1                                   L                 -,    v
5
                 Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 37 of 64




                                             Cause No.                        __________

        THE STATE OF        TEX.'S                                                                                   COUNTY COURT

                                                                                                           AT I        NO,                 OF

                                                                                                           TRAVIS COUNTY, TEXAS



                                                 MOTION IO                    SMS
TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES the State of Texas b           ni                        'r atorney, and rspectfu1iy             quests the Cow't     t    d

miss the above entitled and numbered criminal aetion h                       hich the defendant is             rg'd with     the off       soul

                                                                                                                             for the reason:

           The evidence is in:f:iciunt;
  El       The defendant O'L3 rVic?1           &OO
  ["']     The corpia.ining     ''t:,      rots:               ismiso1 ;
  rTJ      The       .li:abeenrefL:;
  f'l The jufendant Is unappr-thend;
  ETh     defendant is decased;
  LI         e defend!nt h been gr;.oteU -:'.: unity n:              :ht of his testimony;
            us t:      .ade;
  [Jj      Otho',

and for c;u         would show the Court     he following:



       \\E: 'oE,           is           :ht. the above entitled and r.umhered cause                    b    .iissod.
                                                                       Respect.f1ly      sb:tLd

                                                                          ________                 -                              Attorney

                                                                                                            ____________,Date Signed



       The foregoing motion havIn       bn p.                       nie        i   the           .L7   of

A,D.   20__ , and     the same having beeo considered, it is, therefore, ORDERED ADJUDGED and DECREED

that said above entitled and numbered :uuse                  e ivU tne same is hereby dismissed,




                                                                      Judgs ef the County        Curt At Law
                                                                       No,         olTravis Coo. y,Texas



         COUNTY CLERK-WHITE: DEFENDANVS COP-         :
                                                         '
                                                                1   STATF    COPY-PINK:   SHERIFF':.              iILROD
         Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 38 of 64



                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION
MICHAEL HAENDEL,                                         §
     Plaintiff                                           §
                                                         §
vs.                                                      §     CIVIL ACTION NO. A-l3-CA-OO7.SS
                                                         §
M. DIGIANTONIO and THOMAS EATON                          §
      Defendants.                                        §

                  DEFENDANTS M, DIGIANTONLO AND THOMAS EATON'S
                      DISCLOSURES PURSUANT TO F.R.C.P. 26(a)(1)'

TO:      Pro Se Plaintiff; Michael Haendel, P.O. Box 300952, Austin, Texas 78703.

         COMES NOW, Defendants M. Digiantonio and Thomas Eaton, and make these Initial

Disclosures pursuant to Federal Rules of Civil Procedure 26(a)(1).

                                          I.       POTENTIAL WITNESSES


Pro Se Plaintiff:
Michael Haendel
P.O. Box 300952
Austin, Texas 78703

TCSO staff potentially involved in the incident on January 5, 2011:
Criminal Justice Center ("CJC") Courthouse Security
Lt. Robert Mills #694
Sgt. Brenda Hirsch #731
Sgt. Deborah Klekar #988
Richard Brown #801
Trina Hampton #1601
Sean Funderburgh #3477
Samantha Greenberg #1542
Thomas Eaton #3 605 (He is now at the D.A.'s office)
Edgardo Gaitan #3 798
Michael Digiantonio #1508
John Hernandez #4429

  The parties were unable to conduct a standard Rule 26(1) conference. As a result, it was impossible to calculate the
time for initial disclosures. Therefore, Defendants incorporate their enclosed List of Potential Witnesses and
Exhibits served pursuant to the Court's scheduling order which is being served simultaneously in the same certified
mail envelope. In addition, because Plaintiff has listed a P.O. Box as his address, Defendants will send an additional
copy of the documents to him via regular mail.



294154-1
        Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 39 of 64                           I-



l3rian Rubel #918
            1th
509W.   1         st.
Austin, Texas 78701
(512) 854-9889

Travis County Sheriff's Office Officials:
Sgt. Jeffrey Anderson #553
Travis County Sheriff's Office
5555 Airport Blvd.
Austin, Texas 78751
(512) 854-9770

Sheriff Greg Hamilton #101
Travis County Sheriff's Office
5555 Airport Blvd.
Austin, Texas 78751
(512) 854-9770

Austin Police Department Employees:
Christa Lemon
Austin Police Department ("APD")
715 East 8th Street
Austin, Texas 78701
(512) 974-5000


Central Booking Facility ("CBF")
At this time, Defendants are providing names of TCSO employees that worked Shifts A
and B, however it is possible that not all of the employees listed had actual interaction with
Mr. Haendel:

Lt. Elizabeth Jurica #648
Sgt. Tammy Hazie #1286
Sgt. Wilanne Stewart #871
Sgt. James Hodge #949
Nathan Bradshaw #784 (no longer with TCSO)
Laura Hill #1799
Alvina Gomez #800
Myrna Ruiz #1592
Blanca Garcia #3640
Andrew Ybarra #606
Aida Salgado #4408 (licensed vocational nurse)
Jerry Sustala #3393
Robert Kan #3832
Dale Jordan #4517


                                                 2
294154!
       Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 40 of 64



Nathan Matteson #4198
Charles Teague #1728
Ernest Maldia #1107
Michael Tobias #373 8
William McMullin #702
Jeffery Spencer #1784
Charles Oppermann #1099
Sharlan Narvaez #1520
Allan Owens #811
Roger Harper #1129
Charles Balke #1501
Rick Reynolds #1552
Paul Eck #1674
Esteban Castilla #1111
Esmeralda Rose #145
Tilsa Gaslin #3243
Sheila Horton #3 333
Robert Martin #584
John Grayson #819

TCSO staff involved in processing Plaintiff through TCJ:
Travis County Jail ("TCJ")
Lt. Nelda Pena #1018
Sgt. Christina McAfee #2073
Sgt. Daniels Voights #661
Leann Jones #4261
Juliana Flores #4256
Karen Cotton #3872 (counselor)
Susan Conway #1461 (licensed vocational nurse)
Rebecca Curiel #1747 (licensed vocational nurse)
Barbara Kelly #1378 (former charge nurse, she is now retired)

Travis County Sheriff's Office
509W. llthst.
Austin, Texas 78701
(512) 854-9889

At this time, Defendants are providing names of TCSO employees that worked on Team 1
and 3 on January 5, 2011, and/or January 6, 2011, and were involved in processing Plaintiff
through TCJ, however it is possible that not all of the employees listed had actual
interaction with Mr. Haendel:

Team I
Sgt. Nathaniel Gillespie #681
Cynthia Vela #4317
Makayla Hensley #4491



294 154-1
       Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 41 of 64



Garrett Collins #4585
Patricia Colvin #4570
Brandon Massey #4339
Luisa Reyes #4138
Melissa Slone #2074
James Wilson #911 (no longer with TCSO)
Cleotis Wimberly, #35 13
Joshua Taylor #4132
Christopher Ellis #3217
Steven St. James #4176
Darnell Dail #4291
Scott Rickabaugh #3576
Orlando Castaneda #35 10
Vance Pence #4091
Felicia Rhines #3 763 (no longer with TCSO)
Paul Rock #4096
Donna Clark #4281
Lauretta Rock #3 869
Jennifer Weiss #4220

Team 3
Albert Herrera #3 036
Jason Kovalcik #3 369
Joseph Ruiz #4446
Lauretta Lawless #4305
Benjamin Arriola #4375 (no longer with TCSO)
Joshua Loving #4590
Tern Garcia #1052
Lisa Johnson #3478
Ramon Powers #38 16
Dionisio Dorado #38 14
Dominic Mokry #4675
Robert Mardis #3295
Julian Hernandez #4287
Marcelo Davila #3277
Tamera Brown #4349
Marshell Brumfield #4419
Travis County Sheriff's Office
509 W. 1th St.
       1


Austin, Texas 78701
(512) 854-9889




294 154-1
        Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 42 of 64



 Travis County Correctional Complex ("TCCC")

 At this time, Defendants are providing names of TCSO employees that worked Shift A on
 January 6, 2011, andIor January 7, 2011, however it is possible that not all of the employees
 listed had actual interaction with Mr. Haendel:
 A-Shift:
 Sgt. Laura Town #1732
 Sgt. Scott Gebert #238
 David Williams #3152
 Cesar Hernandez #4508
 Kelvin Rucks #1377
 Bradley Peyton #436
 Clayton Jones #1450
Timothy Kinsley #820
 Jeffrey Flippin #1369
John Morgan #1573
Anthony Ward #3993
John White #852
James Peel #831
Domingo Vasquez #3739
Matilde Nava #4271
Arthur Gutierrez #3829
Kurt Zdeb #4131
Count Fuller #762
Lee Parker #1204
James Hammack #782
John Witbrodt #396 (no longer with TCSO)
Phillip Vidouria #1465
Robert Escobedo #3992
Lewis OT (B Unit) Derek Daniels #3 883

B-Shift
At this time, Defendants are providing names of TCSO employees that worked Shift B on
January 6, 2011, and/or January 7, 2011, however it is possible that not all of the employees
listed had actual interaction with Mr. Haendel:
Sgt. G. Cano #201
Timothy Parrish #4246
James Armenta #4018 (no longer with TCSO)
Joseph Ferguson #4457
Joshua Osborn #3835
Andrew Garcia #4562 (no longer with TCSO)
Thomas Goertz #4603
William Anderson #954
Alvis Prince #3 077
Steven Magdaleno #4617
Wesley Tate #3357



294154-1
       Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 43 of 64



Calvin Jenkins #3950
Warren Ervin #186
James Traynor #4319
Donald Maclntyre #4677
William McFerren #4496 (no longer with TCSO)
Timothy Hurt #4363
Joe Ledesma #4681
Bridgett Thornton #4492
Timothy Parrish #4246
Ruben Nunez #4665
Eric Sotelo #4625
George Frazer #4650

C-Shift
At this time, Defendants are providing names of TCSO employees that worked Shift C on
January 6, 2011, however it is possible that not all of the employees listed had actual
interaction with Mr. Haendel:
Sgt. Jacqueline Welch #409
Matthew Utterback #3 105
Benjamin Delcamp #4598
David Merka #191
McBride

TCSO staff involved in processing Plaintiff through TCCC:
Deputy John Kraft #3886
Karen McMahon #463 0
Shade Kemp #4511
Tamara Scott #37 17
Jacalyn Grady #352 1
Victoria Chambers #3 922
Barbara Mitchell #3 843 (registered nurse, she is now retired)
Patricia Vercher #4554
Raul Garcia #4024
Ronald Modequillo #4161(charge nurse)

3614 Bill Price Road
Del Valle, Texas 78617
(512) 854-4180

TCCC Medical Administrative Staff:
Elizabeth Minks #756
Travis County Correctional Complex ("TCCC")
3614 Bill Price Road
Del Valle, Texas 78617
(512) 854-4180



                                                 6
294154I
        Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 44 of 64



 Individual who visited Michael Haendel during his incarceration at TCCC on January 6,
 2011:
 Mary Catherine Krenek
 541! Link Avenue
 Austin, Texas 78751

 Surety bail bond agent for Michael Haendel on January 7, 2011:
 Debra W. Ojeda
 Kwick Bail Bonds #2
 605 W. 18th Street
 Austin, Texas 78701
 (512) 472-5945

 Magistrate Judge that performed magistration of Plaintiff:
Celeste Villarreal
Municipal Judge
City of Austin
P.O. Box 2135
Austin, Texas 78768
(512) 974-4800

District Judge who signed the Affidavit for Warrant of Arrest and Detention pertaining to the
incident involving Michael Haendel on January 5, 2011:
Brenda Kennedy
403" District Judge
509 W. 1th St., 6th Floor
        1


Austin, Texas 78701

 Admitting physician who treated Michael Haendel for hand pain on January 8, 2011:
Alois Duska, MD
Seton Medical Center
 1201 West 38th Street
Austin, Texas 78705
(512) 324-1000

Physician who was referred to Michael Haendel by Dr. Alois Duska on January 8, 2011, for a
follow-up examination to evaluate him for diabetes:
Veena Surapaneni, MD
11901 W,ParrnerLn.,Ste. 110
Cedar Park, Texas 78613
(512) 260-5206

Registered nurse who conducted a triage assessment of Michael Haendel on January 8, 2011:
Darren Hodgson, RN
Seton Medical Center
          38th
1201 West      Street



294 154-1
        Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 45 of 64



 Austin, Texas 78705
 (512) 324-1000

Registered nurse who conducted a nursing assessment of Michael Haendel on January 8,
2011:
C.E. Helman, RN (2970018-19, 2970022)
Seton Medical Center
1201 West 38th Street
Austin, Texas 78705
(512) 324-1000

Any and all Seton Medical Center staff and/or providers who provided medical care to
Michael Haendel on January 8, 2011.
Seton Medical Center
1201 West 38th Street
Austin, Texas 78705
(512) 324-1000

Any medical professionals that have treated or seen Mr. Haendel from 2007 to the present
Defendants do not have this information at this time but anticipate obtaining the names through
discovery

Travis County Risk Management:
Donna Stirman
HRMD Risk Management
1010 Lavaca St.
Austin, Texas 78701
(512) 854-9499

William Paterson
HRMD Risk Management
1010 Lavaca St.
Austin, Texas 78701
(512) 854-9499

Possible Witnesses on the issue of attorney's fees:

Elaine A. Casas
Travis County Attorney's Office
314W. 11th Street, Suite 420
Austin, Texas 78701
(512) 854-9316

Jennifer Kraber
Travis County Attorney's Office
314W. 1 1th Street, Suite 420


                                                8
294 154-1
        Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 46 of 64



Austin, Texas 78701
(512) 854-9316

        Defendant further reserves the right to call any witness or expert witnesses identified by
Plaintiff or any other party discovered in any interrogatory responses, in responses to Requests for
Admission, in any documents produced in response to Requests for Production or subpoena duces
tecum, in any deposition testimony, disclosures or in any Designation of Potential Witnesses filed
with the Court or served on Plaintiff

                                   II. POTENTiAL EXHIBITS

         Michael Haendel's TCSO Booking File.*

    A Michael    Haendel's TCSO Tiburon Documents.*

    A Michael Haendel's TCSO Medical File,*

    A   Relevant TCSO Policies and Procedures.*

    A Log Books for TCSO staff, CBF, TCJ and HSC.*

    A   TCSO Training records and any certificates or licenses pertaining to TCSO Deputies
        Digiantonio and Eaton.*

   A TCSO Reports regarding Michael HaendeL*

   A    Any public records relating to Michael Haendel, including criminal files and records.

   A Medical records for Plaintiff from outside providers from 2007 to the present

   A Any photos and/or videotape taken at the scene of the incident.*

   U    Criminal and Civil Court Records regarding Michael Haendel.*

   U    Any notes, journals and/or diaries kept by Michael Haendel.

   A    Any non-privileged correspondence to, from or about Michael Haendel regarding the
        incident on January 5, 2011.

   A Any previous videos or photos of Michael Haendel prior to the incident.

   A Any depositions or sworn statements of Michael Haendel from past litigation.

   A    An example of the type of handcuffs used on Michael Haendel.

   A    The lanyard and recorder worn by Michael Haendel at the time of the incident.


                                                 9
294154I
          Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 47 of 64



      I   Photographs of the CJC security screening area and the equipment used for screening.


*   These documents are currently in Travis County's possession and will be provided to Plaintiff
    upon request.

        Defendants reserve the right to supplement their list of potential exhibits. Defendants also
reserve the right to use any document or tangible thing identified by any party in any interrogatory
response, in responses to Requests for Admission, in any documents produced in response to
Requests for Production, in disclosures, in response to any subpoena duces tecurn, or in any
Designation of Potential Exhibits filed or served pursuant to the Court's Scheduling Order(s).

                                               Respectfully submitted,

                                               DAVID A. ESCAMILLA
                                               County Attorney, Travis County
                                               P.O. Box 1748
                                               Austin, Texas 78767
                                               Telephone: (512) 854-9513
                                               Facsimile: (512) 854-4808



                                        By:                          C
                                               Elaine Casas
                                               Assistant Travis County Attorney
                                               State Bar No. 00785750
                                               Jennifer Kraber
                                               Assistant Travis County Attorney
                                               State Bar No. 24027426
                                               ATTORNEYS FOR DEFENDANTS




                                                 10
294154-1
       Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 48 of 64



                                 CERTIFICATE OF SERVICE
       I  hereby certify that a true and correct copy of the foregoing instrument has been sent via
certified mail, return receipt requested and via regular U.S. Mail to the following individual Ofl
the l0t1 day of July, 2013.


CMRRR #7011 0470 0003 0635 8942
Michael 1-Iaendel
P.O. Box 300952
Austin, Texas 78703
PRO SE PLAINTIFF




                                             Elaine A. Casas
                                             Jennifer Kraber
                                             Assistant County Attorneys




                                                11
294 154-1
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 49 of 64




                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                          AUSTIN DIVISION
MICHAEL HAENDEL,                                          §
     Plaintiff                                            §
                                                          §
vs.                                                       §     CIVIL ACTION NO A-13-CA-007-SS
                                                          §
M. DIGIANTON1O and THOMAS EATON                           §
      Defendants.                                         §

      DEFENDANTS NI. DIGIANTONIO AND THOMAS EATON'S DESIGNATION OF
        EXPERTS, POTENTIAL WITNESSES AND PROPOSED TRIAL EXHIBITS'


           COME NOW, Defendants M. Digiantonio and Thomas Eaton, herein referred to as

"Defendants," by and through their attorney of record, the Travis County Attorney, and pursuant to

the Scheduling Order entered by the Court, hereby designate their potential witnesses and

testifying experts with a written summary of the expected testimony of each expert, and a

disclosure list of Defendants' proposed trial exhibits to Michael Haendel, Pro Se Plaintiff

Pursuant to the language of the Court's scheduling order in this case, Defendants are serving this

document on Mr. Haendel, but not filing it with the Court.




  Defendants incorporate their enclosed Initial Disclosures in this designation as if filly set out herein. The parties
were unable to conduct a standard Rule 26(f) conference. As a result, it was impossible to calculate the time for
initial disclosures. Therefore, Defendants are serving this list of potential witnesses and proposed trial exhibits
pursuant to the Court's scheduling order, and also, serving initial disclosures simultaneously in the same certified
mail envelope. In addition, because Plaintiff has listed a P.O. Box as his address, Defendants will send an additional
copy of the documents to him via regular mail.


294361-I
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 50 of 64




                                       Respectfully submitted,

                                       DAVID ESCAMILLA
                                       TRAVIS COUNTY ATTORNEY
                                       p. Q, Box 1748
                                       Austin, Texas 78767
                                       (512) 854-9415
                                       FAX: (512) 854-4808




                                       State Bar No. 00785750

                                       JENNIFER KRABER
                                       Assistant County Attorney
                                       State Bar No. 24027426

                                       ATTORNEYS FOR DEFENDANTS




                                         2
294361-I
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 51 of 64




                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing instrument has been sent via
certified mail, return receipt requested and via regular U.S. Mail to the following individual on
the l0t day of July, 2013.


CMRRR #7011 0470 0003 0635 8942
Michael Haendel
P.O. Box 300952
Austin, Texas 78703
PRO SE PLAINTIFF




294361-!
            Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 52 of 64




                               POTENTIAL FACT WITNESSES

TRAVIS COUNTY SHERIFF'S OFFICE ("TCSO") ADDRESSES FOR LiSTED
WITNESSES BELOW

Central Command
5555 Airport Blvd
Austin, Texas 78751
(512) 854-9770

TCSO Criminal Justice Center ("CJC") Courthouse
509W. 11th St.
Austin, Texas 78701
(512) 854-9889

Travis County Central Booking ("CBF")
509W. 11th St.
Austin, Texas 78701
(512) 854-9889

Travis County Jail ("TCJ")
509W. llthSt.
Austin, Texas 78701
(512) 854-9889

Travis County Correctional Complex ("TCCC")
3614 Bill Price Rd.,
Del Valle, Texas 78617
(512) 854-4180

TCSO Chain of Command

Sheriff Greg Hamilton #101
Chief Deputy James Sylvester #499
Major Darren Long#832
Major Mark Sawa #337
Travis County Sheriff's Office
5555 Airport Blvd
Austin, Texas 78751
(512) 854-9770
Have knowledge of the incident that is the subject of this lawsuit.

TCSO Medical Staff

Aida Salgado #4408, TCJ/CBF licensed vocational nurse, was present during booking



                                                 4
29436 I-I
            Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 53 of 64




Susan Conway #1461, TCJ/CI3F licensed vocational nurse, completed the TCJ Intrasystem
Transfer Summary
Travis County Jail/Central Booking Facility
509 W. 11th St.
Austin, Texas 78701
(512) 854-9889

Ronald Modequillo #4161, TCCC Charge Nurse, completed TCCC Intrasystem Transfer
Summary
Travis County Correctional Complex
3614 Bill Price Rd.,
Del Valle, Texas 78617
(512) 854-4180

Former TCSO Medical Staff

Barbara Kelly #1378, Former TCJ charge nurse, performed nurse visit on January 6, 2011
do Travis County Sheriff's Office
Attn: Michael LaSorsa
5555 Airport Blvd
Austin, Texas 78751
(512) 854-9770

Rebecca Curiel #1747, TCJ licensed vocational nurse (at the time of the incident), on duty at TCJ
on January 5, 2011
Currently employed at:
Gardner Betts Juvenile Center
2515 S. Congress
Austin, Texas 78704
(512) 854-7000

Barbara Mitchell #3 843, TCCC Registered Nurse, on duty on January 7, 2011
do Travis County Sheriff's Office
Attn: Michael LaSorsa
5555 Airport Blvd
Austin, Texas 78751
(512) 854-9770

Travis County Jail Programs Staff

Karen Cotton #3872, TCJ Counselor Sr., performed CBF                 Mental Health Screening,
psychological observation and clinical assessment
Travis County Jail
509W. 11th St.
Austin, Texas 78701
(512) 854-9889


                                                5
29436 I-I
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 54 of 64




Raul Garcia #4024, TCCC social services program coordinator, performed clinical assessment
on January 6, 2011
Travis County Correctional Complex
3614 Bill Price Rd.,
Del Valle, Texas 7861 7
(512) 854-4180

TCSO CJC Courthouse Security Staff Involved In The Incident On January 5 2011

Lt. Robert Mills #694, CJC Courthouse Security Lieutenant (at time of the incident)
Sgt. Brenda Hirsch #731, CJC Sergeant
Sgt. Deborah Klekar #988, CJC Sergeant
Trina Hampton #1601, CJC Deputy Sheriff
Sean Funderburgh #3477, CJC Deputy Sheriff *
Sainantha Greenberg #1542, CJC Deputy Sheriff
Edgardo Gaitan #3798, CJC Deputy Sheriff
Michael Digiantonio #1508, CJC Deputy Sheriff, asked Michael Haendel to leave the building
due to his non-compliance
John Hemandez #4429, CJC Deputy Sheriff, arrested and detained Michael Haendel
Brian Rubel #918, CJC Deputy Sheriff *
Travis County Criminal Justice Center
509W. 11th St.
Austin, Texas 78701
(512) 854-9889

* T'hese witnesses are listed in an abundance of caution, but it is probable that they were not
present at the time of the incident because records indicate that they were either assigned to a
different shift or left prior to the incident.

TCSO Criminal Investigations Staff

Sgt. Jeffrey Anderson #553, Criminal Investigations Sergeant, entered an entry in Tiburon
Travis County Sheriffs Office
5555 Airport Blvd.
Austin, Texas 78751
(512) 854-9770

Austin Police Department ("APD") Staff

Christa Lemon, APD employee, confirmed Michael Haendel's personal identifiers
Austin Police Department
715 East 8th Street
Austin, Texas 78701
(512) 974-5000



                                               6
294361-I
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 55 of 64




TCSO Corrections Staff- CBF. The following TCSO employees worked Shifts A and B on
January 5, 201 1. however it is possible that not all of the employees Listed had actual
interaction with Michael Haendel.

Lt. Elizabeth Jurica #648, CBF Lieutenant (at the time of the incident)
Sgt. Tammy Hazie #1286, CBF Sergeant
Sgt. Wilanne Stewart #871, CBF Sergeant
Sgt. James Hodge #949, CBF Sergeant (at the time of the incident)
Laura Hi!! #1799, CBF Corrections Officer, Sr., assigned to booking/entry
Alvina Gomez #800, CBF Corrections Officer, Sr., assigned to screening
Myrna Ruiz #1592, CBF Office Specialist, Sr.
Blanca Garcia #3640, CBF Security Coordinator
Andrew Ybarra #606, CBF Corrections Officer, Sr.
Robert Kan #3832, CBF Security Coordinator
Dale Jordan #4517, CBF Corrections Officer, Sr.
Nathan Matteson #4198, CBF Corrections Officer, Sr.
Charles Teague #1728, CBF Corrections Officer, Sr.
Ernest Maldia #1107, CBF Corrections Officer, Sr.
Michael Tobias #3738, CBF Corrections Officer, Sr., assigned to booking window
William McMulIin #702, CBF Corrections Officer, Sr. (at time of incident), assigned to prints
Jeffery Spencer #1784, CBF Corrections Officer, Sr., assigned to warrants
Charles Oppermann #1099, CBF Corrections Officer, Sr., assigned to court
Sharlan Narvaez #1520, CBF Security Coordinator, assigned to CBF property
Allan Owens #81 1, CBF Corrections Officer, Sr., assigned to CBF housing float
Roger Harper #1129, CBF Corrections Officer, Sr., assigned to magistration
Charles Balke #1501, CBF Corrections Officer, Sr., assigned to releases
Rick Reynolds #1552, CBF Corrections Officer, Sr., assigned to releases
Paul Eck #1674, CBF Corrections Officer, Sr., assigned to bonding
Esteban Castilla #1111, CBF Corrections Officer, Sr. assigned to bonding
Esmeralda Rose #145, CBF Corrections Officer, Sr., assigned to R&D
Tilsa Gaslin #3243, CBF Corrections Officer, Sr., assigned to R&D
Sheila Horton #3333, CBF Security Coordinator, assigned to main control
Robert Martin #584, CBF Corrections Officer, Sr., assigned to post 1
John Grayson #819, CBF Corrections Officer, St, assigned to post 2
Travis County Central Booking
509 W. 11th St.
Austin, Texas 78701
(512) 854-9889

TCSO Corrections Staff        TCJ.      The following TCSO employees were involved in
processing Plaintiff through TCJ.

Lt. Nelda Pena #1018, TCJ Lieutenant (at the time of the incident)
Sgt. Christina McAfee #2073, TCJ Sergeant, Team I
Leann Jones #4261, TCJ Corrections Officer, Sr. (at the time of the incident), officer on duty
assigned to medical on January 5, 2011



294361-I
            Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 56 of 64



Sgt. Daniel Voights #661, TCJ Sergeant, Team 3
Juliana Flores #4256, TCJ Corrections Officer, Sr., officer on duty assigned to medical on
January 5-6, 2011
Travis County Jail
509 W. 1 l St.
Austin, Texas 78701
(512) 854-9889

TCSO Corrections Staff- TCJ. The following TCSO employees worked on Team 1 and/or
3 on January 5. 2011. and/or January 6, 2011, and were possibly involved in processing
Plaintiff through TCJ, however it is possible that not all of the employees listed had actual
interaction with Mr. Haendel.

Team I
Sgt. Nathaniel Gillespie, TCJ Sergeant, Team I (at the time of the incident)
Cynthia Vela #4317, TCJ Security Coordinator, assigned to control
                                                             1

Makayla Hensley #449 1, TCJ Cadet Corrections Officer, assigned to 2 control
Garrett Collins #4585, TCJ Corrections Officer, assigned to 3 control
Patricia Colvin #4570, TCJ Security Coordinator, assigned to 4 control
Brandon Massey #4339, TCJ Corrections Officer, Sr., assigned to 2 north
Luisa Reyes #4138, TCJ Corrections Officer, Sr., assigned to 2 float
Melissa Slone #2074, TCJ Corrections Officer, Sr., assigned to 2 south
Cleotis Wimberly, #3513, TCJ Corrections Officer, Sr., assigned to 3 float
Joshua Taylor #4132, TCJ Cadet Corrections Officer (at the time of the incident), assigned to 3
south
Christopher Ellis #3217, TCJ Corrections Officer, Sr., assigned to 4 north
Steven St. James #4176, TCJ Corrections Officer, Sr., assigned to 4 float
Darnell Dail #4291, TCJ Corrections Officer, Sr. (at the time of the incident), assigned to 4 south
Scott Rickabaugh #3 576, TCJ Corrections Officer, Sr., assigned to Bldg. S/El
Orlando Castaneda #35 10, TCJ Corrections Officer, Sr., assigned as a rec. officer
Vance Pence #4091, TCJ Corrections Officer, Sr., assigned as a rec. officer
Paul Rock #4096, TCJ Office Specialist, Sr., assigned to reception in the a.m. shift
Donna Clark #428 1, TCJ Office Specialist, Sr., assigned to reception in the a.m. shift
Lauretta Rock #3869, TCJ Office Specialist, Sr., assigned to reception in the p.m. shift
Jennifer Weiss #4220, TCJ Office Specialist, Sr., assigned to reception in the p.m. shift

Team 2
Albert Herrera #3036, TCJ Security Coordinator, assigned to 1 control
Jason Kovalcik #3369, TCJ Security Coordinator, assigned to 2 control
Joseph Ruiz #4446, TCJ Security Coordinator, assigned to 3 control
Lauretta Lawless #4305, TCJ Security Coordinator, assigned to 4 control
Joshua Loving #4590, TCJ Security Coordinator (at the time of the incident), assigned to relief
Tern Garcia #1052, TCJ Corrections Officer, Sr., assigned to 2 float
Lisa Johnson #3478, TCJ Corrections Officer, Sr., assigned to 2 south
Ramon Powers #3816, TCJ Corrections Officer, Sr., assigned to 2 south
Dionisio Dorado #3814, TCJ Corrections Officer, Sr, assigned to 3 float


                                                8
29436 I-I
          Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 57 of 64



Dominic Mokry #4675, TCJ Corrections Officer, assigned to 3 float
Robert Mardis #3295, TCJ Corrections Officer, Sr., assigned 3 south
Julian Hernandez #4287, TCJ Corrections Officer, Sr., assigned to 4 north
Marcelo Davila #3277, TCJ Corrections Officer, Sr. (at the time of the incident), assigned to 4
south
Tamera Brown #4349, TCJ Corrections Officer, Sr., assigned to Bldg. S/El
Marshell Brumfield #4419, TCJ Corrections Officer, Sr., assigned to Bldg. S/E2
Travis County Jail
509W, llthlSt.
Austin, Texas 78701
(512) 8549889

TCSO Corrections Staff TCCC, The following TCSO employees worked Shift A on
January 6. 201!. and/or January 7. 2011. however it is nossible that not all of the emlovees


Sgt. Laura Town #1732, TCCC Sergeant (at the time of incident)
Sgt. Scott Gebert #238, TCCC Sergeant
David Williams #3152, TCCC Security Coordinator, assigned to control
Cesar l-lernandez #4508, TCCC Security Coordinator, assigned to control
Kelvin Rucks #1377, TCCC Corrections Officer, Sr., assigned to programs
Bradley Peyton #436, TCCC Corrections Officer, Sr., assigned to clinic
Clayton Jones #1450, TCCC Corrections Officer, Sr., assigned to clinic/programs
Timothy Kinsley #820, TCCC Corrections Officer, Sr., assigned to searchlescort and C Unit
Jeffrey Flippin #1369, TCCC Corrections Officer, Sr., assigned to search/escort
John Morgan #1573, TCCC Corrections Officer, Sr., assigned to search/escort
Anthony Ward #3 993, TCCC Corrections Officer, Sr., assigned to B and D Units
James Peel #83 1, TCCC Corrections Officer, Sr., assigned to C Unit and clinic
Domingo Vasquez #3739, TCCC Corrections Officer, Sr. (at the time of the incident), assigned
to C Unit and Honor's Building)
Matilde Nava #4271, TCCC Corrections Officer, Sr., assigned to D Unit and clinic/programs
Arthur Gutierrez #3 829, TCCC Corrections Officer, Sr. (at the time of the incident), assigned E
Unit
Kurt Zdeb #4131, TCCC Corrections Officer, Sr., assigned to E Unit
Count Fuller #762, TCCC Corrections Officer, Sr., assigned to E Unit and search/escort
Lee Parker #1204, TCCC Corrections Officer, Sr., assigned to F Unit
James Hammack #782, TCCC Corrections Officer, Sr., assigned to F Unit
Phillip Vidouria #1465, TCCC Corrections Officer, Sr., assigned to Honor's Building
Robert Escobedo #3992, TCCC Corrections Officer, Sr., assigned to search/escort
Lewis OT, assigned to B Unit
Derek Daniels #3 883, TCCC Corrections Officer, Sr. (at the time of the incident), assigned to C
Unit
Travis County Correctional Complex
3614 Bill Price Rd.,
Del Valle, Texas 78617
(512) 854-4180



29436!-
       Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 58 of 64




TCSO Corrections Staff TCCC. The following TCSO employees worked Shift B on
January 6, 2011, andlor January 7, 2011, however it is possible that not all of the employees
listed had actual interaction with Mr. HaendeL

Sgt. Graciela Cano #201, TCCC Sergeant
Timothy Parrish #4246, TCCC Corrections Officer, assigned to control
Joseph Ferguson #4457, TCCC Corrections Officer, assigned to searchlescort and C Unit
Joshua Osborn #3 835, TCCC Corrections Officer, Sr., assigned to searchlescort
Thomas Goertz #4603, TCCC Corrections Officer, Sr., assigned to B and C Units
William Anderson #954, TCCC Corrections Officer, Sr., assigned to C Unit and searchlescort
Alvis Prince #3077, TCCC Corrections Officer, Sr. (at the time of the incident), assigned to C
Unit
Steven Magdaleno #4617, TCCC Corrections Officer, Sr., assigned to D Unit and searchlescort
Wesley Tate #3357, TCCC Corrections Officer, Sr., assigned to E Unit
Calvin Jenkins #3950, TCCC Corrections Officer, Sr., assigned to E Unit
Warren Ervin #186, TCCC Corrections Officer, Sr., assigned to E Unit
James Traynor #4319, TCCC Corrections Officer, Sr., assigned to F Unit
Donald Maclntyre #4677, TCCC Cadet Corrections Officer, assigned to F Unit
Timothy Hurt #4363, TCCC Corrections Officer, Sr., assigned to Honor's Building and D Unit
Joe Ledesma #4681, TCCC Corrections Officer, assigned to control
Bridgett Thornton #4492, TCCC Security Coordinator, assigned to control
Timothy Parrish #4246, TCCC Corrections Officer, assigned to clinic/S&E
Ruben Nunez #4665, TCCC Cadet Corrections Officer, assigned to clinic/S&E
Eric Sotelo #4625, TCCC Corrections Officer, Sr., assigned to B Unit
George Frazer #4650, TCCC Cadet Corrections Officer, assigned to Honor's Building
Travis County Correctional Complex
3614 Bill Price Rd.,
Del Valle, Texas 78617
(512) 854-4180

TCSO Corrections Staff - TCCC. The following TCSO employees worked Shift C on
January 6, 2011, however it is possible that not all of the employees listed had actual
interaction with Mr. HaendeL

Sgt. Jacqueline Welch #409, TCCC Sergeant
Matthew Utterback #3105, TCCC Corrections Officer, Sr.
Benjamin Delcamp #4598, TCCC Corrections Officer, Sr.
David Merka #191, TCCC Corrections Officer, Sr.
McBnde
Travis County Correctional Complex
3614 Bill Price Rd.,
Del Valle, Texas 78617
(512) 854-4180




                                              10
294361-1
            Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 59 of 64



TCSO Corrections Staff - TCCC.           The following TCSO employees were involved in
processing Plaintiff through TCCC.

Deputy John Kraft #3886, TCCC Corrections Officer, Sr.
Karen MeMahon #4630, TCCC Office Specialist, Sr.
Shade Kemp #4511, TCCC Office Specialist, Sr.
Tamara Scott #3717, TCCC Office Specialist, Sr.
Jacalyn Grady #352 1, TCCC Office Specialist, Sr.
Victoria Chambers #3922, TCCC Office Specialist
Patricia Vercher #4554, TCCC Security Coordinator
Travis County Correctional Complex
3614 Bill Price Rd.,
Del Valle, Texas 78617
(512) 854-4180

Former TCSO Corrections Staff. The following former employees worked on January 6,
2011, and/or January 7. 2011, however it is possible that they may not have had actual
interaction with Mr. Haendel.

Richard Brown #801, Former CJC Security Coordinator
Nathan Bradshaw #784, Former CBF Corrections Officer, Sr.
Jerry Sustala #3393, Former CBF Deputy Sheriff, Sr.
John White #852, Former TCCC Corrections Officer, Sr., assigned to B Unit
John Witbrodt #396, Former TCCC Corrections Officer, Sr., assigned to Honor's Building and F
Unit
James Armenta #4018, Former TCCC Corrections Officer, Sr., assigned to clinic/S&E and E
Unit
Andrew Garcia #4562, Former TCCC Cadet Corrections Officer, assigned to B Unit
William McFerren #4496, Former TCCC Corrections Officer, assigned to Honor's Building
James Wilson #911, Former TCJ Corrections Officer, Sr., assigned to 3 north
Felicia Rhines #3763, Former TCJ Office Specialist, Sr., assigned to reception in the am. shift
c/o Travis County SherifVs Office
Attn: Michael LaSorsa
5555 Airport Blvd
Austin, Texas 78751
(512) 854-9770

Thomas Eaton #3605, Former CJC Deputy Sheriff
Travis County District Attorney's Office
509W. 11th St.
Austin, Texas 78701

Benjamin Arriola #4375, Former TCJ Corrections Officer, Sr., assigned to 2 north
10205 Longhorn Sky Way
Dripping Springs, Texas 78620
(512) 560-9914


                                              11
29436 1-1
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 60 of 64




TCSO HSB Administration TCCC

Elizabeth Minks #756, TCCC Office Specialist, Sr., provided medical records to Mr. Haendcl on
February 8, 2011
Travis County Correctional Complex ("TCCC")
3614 Bill Price Road
Del Valle, Texas 78617
(512) 854-4180

CITY OF AUSTIN

Celeste Villarreal, Municipal Judge, performed magistration of Michael Haendel.
City of Austin
P.O. Box 2135
Austin, Texas 78768
(512) 974-4800
403rd
        DISTRICT JUDGE
                       '
Brenda Kennedy, 403 District Judge, signed an affidavit for warrant of arrest of Michael Haendel
403' District Judge
509 W. 11th St., 6 Floor
Austin, Texas 78701

TRAVIS COUNTY RISK MANAGEMENT

Dan Mansour and/or Donna Stirman
HRMD Risk Management
1010 Lavaca St.
Austin, Texas 78701
(512) 854-9499

SETON MEDICAL CENTER

Alois Duska, Admitting Physician, treated Plaintiff for hand pain on January 8, 2011

Darren Hodgson, RN, performed a triage assessment of Plaintiff on January 8, 2011

C.E. Helman, RN, performed a nursing assessment of Plaintiff on January 8, 2011

Any and all Seton Medical Center staff and/or providers who provided medical care to Michael
Haendel on January 8, 2011.
           38th
1201 West       Street
Austin, Texas 78705
(512) 324-1000


                                                12
294361-I
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 61 of 64




ADDITIONAL MEDICAL PROVIDERS

Veena Surapaneni, MD, may have possibly examined Plaintiff after being treated at Seton Medical
Center for hand pain (2970010, 2970022)
 11901 W. Farmer Ln., Ste. 110
Cedar Park, Texas 78613
(512) 260-5206

Any other medical providers seen by Michael Haendel within five years of the incident.

PLAINTIFF'S FRIENDS AND/OR FAMILY MEMBERS

Mary Catherine Krenek
5411 Link Avenue
Austin, Texas 78751
Individual who visited Plaintiff during his incarceration at TCCC on January 6, 2011.

POSSIBLE WITNESSES ON THE ISSUE OF ATTORNEY'S FEES

Elaine A. Casas
Travis County Attorney's Office
314 W. 1th Street, Suite 420
           1


Austin, Texas 78701
(512) 854-9316

Jennifer Kraber
Travis County Attorney's Office
314W. 11th Street, Suite 420
Austin, Texas 78701
(512) 854-9316

           Defendants also reserve the right to call any witnesses identified by Plaintiff in any

interrogatory responses, in responses to Requests for Admissions, in any documents produced in

response to Request for Production, in any deposition testimony or deposition exhibits and in any

designation of potential witnesses filed or served pursuant to the Court's Scheduling Order(s).

                               POTENTIAL EXPERT WITNESSES

Sheriff Greg Hamilton, TCSO
Major Darren Long, TCSO
Chief James Sylvester, TCSO
Major Mark Sawa, TCSO
P.O. Box 1748


                                                 13
294361-I
            Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 62 of 64



Austin, Texas 7767
(512) 854-9770
(Non-retained experts)

The above listed expert witnesses are experts in law enforcement, corrections and medical care
for inmates. Their qualifications are set out in their C.V's, which will be attached to their
reports. They will testify as to the reasonableness and adequacy of TCSO's policies, practices,
and customs. They will testify that TCSO's policies, practices and customs comply with federal
and state laws, and that they are constitutional and not adopted and maintained with deliberate
indifference to the federal constitutional rights of inmates. In addition, they can and will testify
as to whether the actions taken or allegedly taken by individuals were consistent with TCSO
policies, practices, and customs or if an individual's actions were in violation of TCSO policies
practices or customs. They may also testify to rebut any testimony or evidence provided by
Plaintiff regarding the training for TCSO Correctional Officers and whether that training meets
legal requirements in Texas and under the federal constitution. They will also testify that TCSO
fulfilled its duty to provide adequate medical and psychiatric care to inmates by, among other
things, putting procedures in place for the provision of medical care and by contracting with a
full time psychiatrist licensed to practice medicine in Texas and Board Certified in psychiatry.

The experts listed above are familiar with TCSO Policies and Procedures and with their
adoption. They will further testify to the unique concerns present in a court security setting and
how they might apply to Michael Haendel's situation. In addition, they can and will testify that
the actions taken by TCSO Deputies Digiantonio and Eaton were consistent with TCSO policies,
practices, and customs. They will testify that Deputies Digiantonio and Eaton acted to maintain
the safety and security of a courthouse facility and that their actions concerning Michael Haendel
were all related to ensuring the smooth operation of the Criminal Justice Division area on the day
in question. Further, the experts will testify that Deputies Digiantonio and Eaton's actions were
reasonable under the circumstance and that the deputies did not respond to the situation with
excessive force. The experts, to the extent necessary, may also testify to rebut any testimony or
evidence on use of force, They will base their expert opinions on their training, education, and
experience and their review of TCSO policies and documents related to this lawsuit, including
the pleadings, and the discovery in this case.

Dr. Daniel Culver Hart II, M.D.
Medical Director for the Travis County Correctional Complex
Travis County Sheriff's Office
P.O. Box 1748
Austin, TX 78767
(512) 854-4661
(Non-retained expert)

Dr. Hart is a licensed physician, and he has practiced medicine since 1972. He has been licensed
in the State of Texas since 1972 and is board certified in emergency medicine. He has been
employed by Travis County for the Travis County Sheriff's Office since June of 2000.




                                                14
29436 I-I
           Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 63 of 64



Dr. Hart is expected to testify regarding the policies and procedures of the Travis County
Sheriff's Office ("TCSO") concerning inmate medical care. It is Dr. Hart's opinion that TCSO's
policies and procedures are designed to allow appropriate, medically necessary care for inmates
incarcerated at Travis County correctional facilities. Dr. Hart may further testify regarding the
training received by nursing staff from TCSO, as well as the prior training and experience
required to obtain employment as a nurse at TCSO. Dr. Hart is also a Custodian of Records for
TCSO and may testify as to the authenticity of the documents contained in Michael Haendel's
medical file.

Dr. Hart holds the opinion that the policies and procedures of the Travis County Sheriff's Office
are appropriate in providing for the numerous medical needs of inmates, in accordance with state
and federal law. Dr. Hart has reviewed the TCSO policies and procedure manuals and will
review Plaintiff's original complaint, Plaintiffs' responses to interrogatories and deposition
testimony, the TCSO incarceration medical records, inmate file and booking file. In addition,
Dr. Hart may testify as to his medical opinion as to the possible medical causes of Mr. Haendel's
wrist pain, which may be related to diabetic neuropathy.

Defendants will be providing Plaintiff with reports which provide the general substance of the
above listed experts' mental impressions and opinions and the basis for those impressions and
opinions. Defendants reserve the right to call rebuttal experts to any expert testimony provided
on behalf of Michael Haendel,

                                    POTENTIAL TRIAL EXHIBITS

           Michael Haendel's TCSO Booking File,

           Michael Haendel's TCSO Tiburon Documents.

           Michael Haendel's TCSO Medical File.

           Relevant TCSO Policies and Procedures.

           Log Books for TCSO staff, CBF, TCJ and HSC.

           TCSO Training records and any certificates or licenses pertaining to TCSO Deputies
           Digiantonio and Eaton.

           TCSO Reports regarding Michael Haendel.

           Any public records relating to Michael Haendel, including criminal files and records.

           Medical records for Plaintiff from outside providers from 2008 to the present.

           Any photos andlor videotape taken at the scene of the incident or in the jail.

    R Criminal and Civil Court Records regarding Michael Haendel.


                                                     15
294361-i
        Case 1:13-cv-00007-SS Document 57 Filed 08/26/13 Page 64 of 64




    I      Any notes, journals and/or diaries kept by Michael Haendel.

           Any non-privileged correspondence to, from or about Michael Haendel regarding the
           incident on January 5, 2011.

    I      Any previous videos or photos of Michael Haendel prior to the incident.

    I      Any depositions or sworn statements of Michael Haendel from past litigation.

    I      An example of the type of handcuffs used on Michael Haendel.

    I      The lanyard an drecorder worn by Michael Haendel at the time of the incident.

    I Photographs of the CJC security screening area and the equipment used for screening.

           Defendants also reserve the right to use any document or tangible thing identified by

Plaintiff or Defendants in any interrogatory responses, in responses to Requests for Admissions,

in any document produced in response to Request for Production, in any deposition testimony or

deposition exhibit and in any designation of potential witnesses filed pursuant to the Court's

Scheduling Order(s).




                                                   16
294361-L
